Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 1 of 49




                       EXHIBIT B
 Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 2 of 49



                                                      '    Cuuiculurn Vitae
                                                Kenneth W. Reagles, Ph.D.
                                                            (Updated May Z01t)


                            Bildgewater Place, Suite 600, 500 Plurn Street, Syracuse, Nev         york   13204
                                               (31.5) 471-6944 Fax (315) 471-3977
                                                  emaill kreagle2@twcny,rr,com




 Ph,D,      -            Univerciry of Wisconsin-Madison, Rehabiliradon Counseling ?sychology, Department of Studies in
                         Behavioral Disabilities, 1 969.
 M.S.                    San Diego State   University (Califomia), Counseling and Guidance, 1966.
 B.S,                    Universitl' ef Syit"onsin - LaCrosse, ?lrysical Education and Chemistry,1962.


 P-reeent Poeitiott
 1986 to Present         Orvner, K,V?. Reagles & Associates, L,L.C. For'eneic vocational, rehabilitation, apd economic
                         consultation sefvices, as well as €mPloyee assistance, case management, and psychological
                   ".    counseling sewices,
                and      Ptofessor Etnerirus (since May 1996), Syracuse Univetsiq', Rehabilitation Counselor Education
                         Program,



fust:iest*&{eiese
1979   -   1996          Professot, Depattment of Rehabilitation Serrrices, Syracuse Universiry,
1980   -   1996         Co-Owrte{ (with }lc'mld ,f. Dolgherg, M.D.} and Adruinisu'ative Director ,rf Pclion, Inc,, an
                        ourpadent clinic nt wbich $edical and csunsellrg rerjces rvere offered to n vnriety of pertinent
                        popula.tiots, incllrding victirns sf.          j:ersons *'jlh chr:orric pailr, prescription cLug irrirururu,
                                                              Taln'lar
                        dcohol nbusets, nnd nbuscrs of iilicit dnigs,
1978   -1992            Chaitrnan, Depatunent of Rehabilitation Counselor Education, Syracuse Universiry.
I975 - 1979             Associate Professor of Rehabi-litation Counselot Education, Syracuse University,
1969 - 1975             Reseatch    Dbector, Regional Rehabilitation Researcl: Institute, University of Wisconsin-Madison,
1969 - 1970             Visiting Research Professor, Bar-Ilan University, Ramat Gan, Istael,
1.964 - 1965            Teacher, General Sciencq Brodhead, Wisconsin, Public School,
1963 - 1964             Exhibits Manager ffeacher-Demonsttator) arrd Lecturer, Oak Ridge Institute of Nuclear Shrdies,
                        Oak fudge, Tennessee.
1962   -   1963         Teacher, Gerreral Science,    Ft Atkinsotr, Msconsin,    Public School.



$_crtoladylrortnpnuttt
A.     Record of Publications
       1,   Books, Monogtapho, and Repotts
            20ag        The Valuation of Hotubold Produtlion    h   Caw   of Porcoml   Injqy aad   lhvngfi.tl Death, Athens (GA)t
                        Elliott & Fitzpatrich, Inc.
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 3 of 49




       1990       RefuralSkilh: Redtcing Drug             Uu   ancl   Abua   Champagne (IL): Research Press, (with          A. Goldstein
                  and L, Arnman), in press,

       1.984      Tuhnirul Wtitlrg and Prcpaution of Granl Propwahfor lhe Hunan Seruin4                 A    Trainiry Maaaal Syracuse
                  (NY): Rehabilitation Training Center
       1982       Sedes Editor, Twne{Ttunee Manuals and Suppott documerrts fot nine urodules                       a               of
                  compreirensive training program for persotrnel of community tesidetrces (viz,, Exploring Values in
                  MR, Comrnunity Support Systems, Legal Issues, Goal ?lanning, Behavior Observation and
                  Modification, Daily Living Skills, and Human Sexuality) for New York State Of6ce of Mental
                  Retardation and Development Disabilities, 1982.
       1980       Pott-lia$laSwtnt     Scruil;at   {or Il3" Clilltttl @dito{, Procecdingt of a N*rional           Short.T'ee'rn Train;trg
                  Proincto Syraeusc     (l{$r       Syraeuse Univelsiry, Deparbnent       ofRehabilitation Corrnnelor Edrrcnrioo.
       t979       Reagles,   I(,\/,   Handbookfor Follow-ap Stadiet itt tfu Hanm Seft)icet. New             York: ICD    Rehabilicarion
                  and Research Center, 1979,

       1976       Reagles,   I(,W, Afa*orana\tic           sa@ of alwhol-abuittg\etr0nt: Finalptojut     rEal,    Madison   (ilrl); K,V.
                  Reagles    & Associates.
       1975      Reagles, K,W. & Buder,             AJ.    The Barron CornE Pnjeu: Final projeu       r@od, Madison      $ft)r   Hug:an
                 Service Systelns' Inc,

       1975 Sn$' o/ Votatiotal             Artutmettt, Final Project Report, with R, Crystal, Madisorr $?1): Regional
                 Rehabilitation Reseatch Institute,
       197   4   Reagles,    I(atz, & Wright, Rebaltilitarisn in lrael,'Washingtotr (DC); B'nai B'dth.
       1,971.    The economic impact of an expanded progtam of vocational rehabi.litation. Wsolin Strdies in
                 Vwational Rebabilitaiion, University of Wisconsin Regional Rehabilitation Research Instih.rte,
                 Madison 0ff0, 1.971,2, XV (G,N, tl?tight, co-author),
       1971      The impact      of an expanded vocational rehabilitation Ptogram upon                   intra-agency processcs and
                 procedures, lVivonin Stildilt                 itt Voutioml Btbttbitiuri,ott,   University   of   Msconsin Regional
                 &chabilitation Research Instihrte, Madison                  WI),   1971, 2,    XIV   (S. I(ata   &G.N. Wrighg co-
                 authofs),
       1970      A  scale of rehabilitation gain for clients of an expanded vocational tehabilitatiorr proglam.'
                 lY*eontin Stadfu fu Vocrztional kehdliilil*tioh, Urriversity of Wisconsin Regional Rehatiltation
                 Research Institute, Madison CX/D, 1970, a XIII (G.N. Wright & A,J, Budet, co-authors),

       1970      An   expadded progaam               of
                                              vocatjoiral rehabilitation: Methodoiogy and description of clietrt
                 populations. lVirrvtrtirt        ih Vomtianal lkltab,ilitatiol, University of rWiscor:sin Regional
                                                     Sxudier
                 Rehabilitation Reseatch Institute, Madison Cilfq, 1970, e, XI (G.N, Wright & AJ. Burler, co-
                 authors).
       1970      Cotrelates of client satisfaction irr an expatrded vocational rehabilitation program, lVironin Sludiet
                 ir T/ocalional Rehabilitatiott, University of lWisconsin Regional Rehabilitation Researcl'r Institute,
                 Madison (IfD, 1970, Z, XIi (G.N, Wt ght & AJ, Buder, co-authots).
       1969      Tha lTood Coany Pruject: An expanded pr.vgra?t 0lulntiltal rehabilitatioa, Final reporr, RD No, 1629,
                 Univetsity    of Msconsin Regior:ai Rehabilitation Reseatch Institute, Madison Nfi), 1969 (G,N.
                 Might & AJ, Buder, co-authols).
  L,   Chaptere in Books
       1989 Dtug Abuse            Edpcation and Prevention: l)?hat \?orks? m Retaul Skilh Conbating Adohwnt
                 Sub$aflce   Abute by Goidstein, Reagles & Arnann, Reseatch Ptess, tn press,
       1981      Tlte Human                                         in Hatrison, Gaineft, and 'Vlatsotr, Client
                                 Senir;e Sra/e and Sru/r of Cliant Sati{aakn
                 Anennnnt Meavrw in Rehabilitatian, Ann Arbor MD: UM Rli.RI, 1981.


                                                                       a
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 4 of 49




        1980     Clictrt satisf*ctiotl as a function jn inrer:ventivc counselor bclraviors {rv,ith lfright and Tlronaa) in
                 Bolfoa and Cooper, I<eaditgr in l\ahabilitalior Coawrlit4Retaarch. Brltirnore flrCD); University liar*
                 Ptesr, 1980,

        1979     Tovard a new ct'itetiou of VR succe$s (witli Wright and 3ut1er) in Bolton and Jacques, Tla
                 I\ehabilitalion Client,Balumore Qv{D)r Universiry Patk Press, 1979,

        1977    Methodological considetations for follow-up sbudies, in J. Mutbard (Ed,) Tla un of data.forprcgara
                uatsaliwt (proceedings of regional confererce), Gninesville, (FL),
        1971    A beneftt-cost a1a[sis of the Wood Cg]!V Project in Rarcerrl Utiliyatiott ir Lehahilltdtioa Faeilitie4
                Ralplt N, Pacinelli (Ed,), Washington pC): Intemational Association of Rehabilitatiorr Faciiities,
                October 1971 (G,N. Wright, co-author),
        L970     New u'ends in vocational tehabilitation, In A, l,aron @d.), Protuoding                                   oJ the   ltrael S.lmpotian on
                luwnih Diabuet,Leiden, Hollandl H,W, Stenfsr Iftoese, 1970.
  J    Articles (accepted ot               published)                                                                "

       20A9 RecetttCourtDecisions: LnplicationsforPractice, EilitnatiryEarnkgtCapad!,2(1),pp.37-42
       201'l    Reaction to Subaqueous Serqices v, Timothy Corbin, Forcndc Rebabilitation atd Emnomit, Vol, 3,
                No, 2, pp. 105-110, 2011.
       2013     In progtess: Econornic value of personal assistance provided by adult chiidren to their. pareots
                (with Tom I(.ershner, Ph,D,),
       2004    Disability Lirnitatiorrs Checldist - Determining the rrahrre and extent of home aide assistance                                     for
               Life-Cate plannets. Cate Piannet Newsletter, The Platiner,Yol. 2,June 2004,
                                                                      'lnherctt
       1984 lisycholtgicd    Consideralions                  in Colceptual Model for Performance Appraisal
                                                               .t                                                                                    of
               -Llumnn Senice P*of'esriorr*ls, Ilehabilitation FEultolagg,1'lol 29,No, 1,, IgB4,
       1983    Rehabilitation              in a          Multiprogram Private-Sector Company, Rpbahititdiot Coantcliag Bulletin,
               Septernbet,           1   983,
       1981    Petspectives              on the professionafization of tehabilitation counselirrg. Joarnal ofA1tplitd,Rebabilitation
               Cott n*lit4,Summer, 1 981.

      1980     Sexual dysfunction and spina.l cord lesions (withJ. Finn). Sexuality and Disability, Sutnmer, 1980,
      1980     ConF"ontirrg bauiets to the utilization of prograrn evaluation (with D. Hollirrgsworth) .
                                                                                                          Journal of
               T^ehahilialiaa Adniritttation, August 19B0, pp. 93-94.

      1979     Deaf-blindness and the 1963-65 rubella epldemic: rehabilitation cirallenge for the 1980,s (wirh E,
               Budr:e), J ourr al of Brhabi litcrti ott, April-June, 197 9, pp, 24 -27 .

      t9'19    n$stein.ry{               1?1Ct9*,
                                                         "A    sound-slide standatdized r}licntation of vocational rehabilitation,',
                                                                                                                                     Joar4al
               of,4pplied        Re b a b ijits ti o a Co an ta li tg,
                                                                     Vol, 9 (4), Whter .i 97!.
      1978     Reaction          to Sink and Potter's "Convetgence and Djvergence of Rehabilitation Counselor                                    and
              Vocational Evaluator Roles and Functiorrs."                            ,la   arnal oJApplhd Rehabilitatiott Cantrolittgspring, 1978,

      1978    BookReview of Cull and Hatdy. SeoereDiubifitia,Ilehabilitation CoanulingBillain Summet, 1978,
      1977    Ernployer l^eq of graduates as RCE program cvaluadon measures, Rehahilit*tkn Coanaling
              BilllEtiil, Spdng, 1977 (Serven & \ilright, co-authors),

      1977    Single-subfect designs                         fot   client grouPs: implications for program evaluation,                  Rehabilinilsn
              C om   se   linl   Bu I letin, Jwne        1   977 fl O'N eill, co- auth or),
      1977    Teaching teseatch itr tehabilitation counseling;                              A   reaction, Rehabili*ti$n CownlhqBalletin,Vol. 20
              $), pp. 19a-296, 79'17 .
      197 6   A checklist fot evaluating lollgrv-up                     studies in vocation'al rehabilitation, Rehahiliuriw Cwwilittg
              Btl latin, December               1   97   6 E,C. Chop e, co -auth or).
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 5 of 49




        1976     f'he Hutnan Service Scals A ne\rr' rneasuf,e for evaluation. Joumal of Rehabililailot, May-June 1976
                 (AJ. Bu tler, co-author).
        1974     Patterrrs   of Rehabilitation Service as a fur:cdon of age and disabiliq', InrJtttrial Genttologt,yol,           L
                 (3), Summer     1974, (K. Thomas, G,N, Wright, & D. Dellado, co-authors),
        1974    l(ehabilitntiorr couuselof education: Cornparntive perceptions                     of   coordinators"    &quricv
                 ndnriid*tratore, and f+cilities pmsonnel, )khabilifuliott Cwanlingl)alhtin,lune 1g?,1. (G,N, W,,i[i,t         ti
                -J.F. Scorzelli, co-authors),
        t973     Metsuting thc effcctiveness anrl variations of rchabiiitation couusclor educational Dj:omams.
                ]tanat q/'Applied Rehabiliration CauwllryYol. 4 (2), *$urnmer 1973 (c,N, \Vrighr uk J.F. Scorzjli, co-
                authors),

        1973    A        *f co*nselor dff1s trtilizrtion for medically disa.bled and cultutally disadvantagecl ciients,
                    stad1,
                Joxntal ofA\ylkdRehahilitatior  Aoatnlirg, \tol, 4 (4), Winrer 79"13-74 (S. I(atz & c.N, ivtighi;
                authors),                                                                                                     "o-
       1973     Rehabilitated cultrually-disadvantaged and medically-disabled cfients:           A comparison.   Reha$ilitatiatt
                CounteliqBalhtin, Summer 1973 (S. I&tz & G.N. Wright, co-audrors),
       1973     RCE-Du\. Accteditedl Journal o{ Rehabilitation, 1,/oL 39 (6), Novembet-December 1973 (G.N.
                '\?tight, co-authot).

       1973     Measuring the cffectivcness and'varjations of rel,abilitation couns<:los educating plograms,
                                                                                                             Jaurnal
                $Applied lUttahilitsrlor Cwneollrg $unrmet 1973 (G,N, \V.'ighr &J. $corzelli, co-uritLors).
       1973     Who.ate-1h*-lough rehabilitation ciientt? -*nsric$n Archivw af Rehabilitatiotr Thcraly,Vol. 21 (1),
                March1973 (GN. Sf-right & I{,R, Thorn*r, eo-nrthors).
       7972     Client satisfacdon as a futrction of irrterventive counselot behaviors, Rehahilira$on &esarcb and
                Pmrlice Rwiew, Yol, 2 Q), Spting issue,   1972. Fayetteville (AR): Arkansas R & T Centet (G.N,
                Wtight & 1(.R, Thornas, co-authors).
       1972    Developrnent      of a scale of client satisfaction. Rahabilitation Rercan'h atd Pradice Reuiew,yol, 3 (2),
               Sprirrg issue,   7972, Fayettevlle (AR): Arkansas R & T center (G.N. l7rrght & K,R. Thoryras, co-
               authors).

       1972    Economic irnpacr, Joarnal ofkehabiti*tllo4January-February 7972 (G,N. wrighr, co-author),
       1972    Semantic differential rating's concept$ related co wor*, education, and dependence as predicrors               of
               relrabtlitation outcome. ISAS Catalogof Rebabilitation CoannlingBalhtin,June 1972 (G,N, Wright                 &
               AJ. Butler, co-authors),
       1972    Toward a new ctiterion of vocatioual'tehabilitation 6uccess, Rebahilitation CounvlingBalktitt,June
               1972 (G,N. Wright & AJ, Butlet, co-authors),

       1972    Relrabilitation gain: Relationship with client characteristics and counselor inrerventior,
                                                                                                          Joynal of
               Pgcltalagt,Malch 1971 (G,N. Wtight & AJ, Butler, co-authors),
       1971    Tlre !(ood County l,rejecil-A1 expalde,{ rehrbilitatjon pfogram for thc vecationally hanrlienpped,
               Ittamalitral Lnboxr kstiav"Yol. 104 (1*3), July.'{ug'rst 1971 (G.N. lftis,}ot & I<.R. T'horn*i,-*.r-
               authors),
  4,   Publisheci Tests, Scales and Guidee
       2006    Diwbiligt Uuitatian Chuklit, Syracuse            (trl$: I(l?,   Reagles   & Associates (original publisnej in
               1e97),

       2003    l)fe-Care Planting Gilde, Syracuse    (|I1): K,W      Reagles   & Associates (orlginal published in   1997),
       D8A     Rehabilitatiott CoanvbrJob    Sa$ftaia   Scale   (wtth D, Hollingswotth). Syracuse (].Jl): I(W.Iteagles        &
               Associates, 1980,
       1975    Clien HandicE Che&litt. Madison (WI)r Regional Rehabilitation Research Institr.rte, 1975.

                                                           4
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 6 of 49




        1975     Euhtnlion and Rcbabililalion Soruitw Chwklis, Madison SVQ: Regional Rehabilitation Research
                 Insdnrte, 1975,
        1974     1S,rah
                        of Cknt Sdti$atlizlt (Reuked), Madison
                                                               $VQ: RegionalRehabilitation Research Institute, 1924
                 (G,N, Wright, co-author),
        1973     The   Htnan   Sentirc   Smh, Madison $VI): Human Service Systems, Inc, (G,N, !?right & AJ, Burler,
                 co-authors), 1973,

        1972     The Rehahilitation Client   Gah Scak, Madison (WI)r Regional Rehabiliration Rcseatch Institute, 1922,
B   Preeentations

                           "eott Esrirnates cf l-ess l'hrn Certaiu $utue Injurics"
          2010 ,Pr,esontef,,                                                                             challenges ig
                                                                                         -Corrtenrporary
                Uie-Care lllannjrrg, lni.en:ational Sy;rrposium on Lifc*Cate prlrurring, Scptcmbrt  13-- 14, Or[nr]o,
                Floridrr.

          2009 ?relcrrrer, "Lost Capocity to 'Petfoun Houschold Wyr'lc:. Implications for Ufe-Care planning,,
               Intcurational Symposiunr olr l-iJ'e.Clre Planning, f.inco)rrshirc, IL; Septernber 26,2009,
          2009 Prcsenter, "Proving l)arnages at 'f'riall Life-Care Flans" flhe New Yorh statc Academv of Ttial
               Lawyers, CLE $erninars; Syr:acuse (April 6), Sutfalo {April 22), and At}:any
                                                                                            flrue 3).
    2004.2012 Presentcr, "frovirlg Darnagcs jn llersanal Jnjurl, arrd Wr:gngliri lJcath lVlnttcre: Loss oJ Earnings
              Crpacityu Losl Capaeity to Ferlicrrn I-{ousehold Servicos, and Life-Care Flans,, $yracuse Universiiy
              School oFl-rn'r Arlvarced ll'or:ts, the j"lonorablc.Jol:n Cherundolo, lls{., A<ljurct Professor,

         2006 Presenter, "Loss of Household Serw.ices: QuantifiTingThe Loss" 2006 IARP Forensic Confererrce,
              Scottsdale (AZ); Novembet 3,2Q06,

         2006 ?tesentcr, "Loss of Cornl:etitive Advantase: The lgnoted Element               of   Damage,' 2006 IARp
              lrol*nsic Ocmleren ce, Scottsdnlc (AZ) i b{ov*rnlset 3, 3A06.
         2005 Presentet, "Ethics, HIPAA, Conf,dentiaLiry, and Technology as Related to Private Rehabjlitation
              Practice" (with Steve Bast, MHS, CVE) Intetnational Association of Rehabjlitation Profcssiotrals
              2005 National Conference on Life-Cate Planning, Orlando (FL); Apdl 17, 2005.

         2004 Presenter, 'Valuatiorr of Household Productiou" \{onroe Counry Bat Association, Center for
              Education's Academy of Law, ContinuingLegal Education Course, Rochester
                                                                                      Q.iB; Ap1il 8,2004,
         2004 Preseirter, "Iloreflsis llehabilitnrion: Lost Cn1:acity to $ilor'k irr the l"abor Msrket and in the Horne,'
              Sytacuse Univcr:s jfy Sehool of I(ehal:ilitntic,n Cour:scling, Principl* arrrl Prncticcs o.f Relubilitati6n
               Counseling, James BelJini, Ph.D., Professor, March 24,2004.
        2003 Prc*elter, "JIhe VnluaLiorr of Horrsehold Prodrrctioo in Cases of Persolr*l Iniury arrd \Wrongfu1
    .        I)c:ri:lt" Anrrttal Conl:ct*rce of the Forcnsie Sectian, 5nn Antonio (I)Q; Norernber'6, 2003,
        2003 'T-oss   of Earnings Capaciry and Life-Care Planning for Severely Disabled lvJinors" Video
               Ptesetrtation, New Yotk State Bat Association, Managing the Touch Issues Seminar, Rochester
               0i9;    AP'it 23,2003.
        2003 Prescntcti "Eco*rnric Damages in Lo::t Acdon: Arriclc 50 of the New York, d1{.Ji.', Syracuse
             Utriversity.9cherol of Law: Advanced f i;r:ts,John Cherundolo, Esq,, Adjunct Professor, Fcbrunry
               18, ?{103,

        2002 P:escrrtc4 "Ecotornic Damnges ic Torr .t\c[iorr: Article 50 of the Netv Ycrle CIiLR.,, Svracuse
             U:riversiqT School ;of Law: Aclvanccil'l'orts,J<lhr Chrnurclolo, Esq., Adjurct Profbssor; Febitur;, 4,
               2442.

        1997 Presenier, "Life-Care Planning for Petsotrs rvith taumatic Brain Injuries." Ptofessional Forensic
           .   Institute, Syracuse G:J!;June 25, 1997.


                                                           5
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 7 of 49




       1996 ?resentet, "The Role and Fnnctions        of the Expert Mtness." Assoc,iation of Certi{ied Fraud
      .      Exatninets, Upstate New York Chapter; Seminar entitled, Penpct;l.iuer: Prcpatwtion for Trial, Coaft
             Teilinory, Expcrl lYitnwt, Syracuse $iYJ; September 16,1996.

       1995 Ptesente!,     "The Vocadonal          Rehabjlitation Expertr Consideration             for Dilect and         Cross
             Examinadons." New Yotk Ttiai Larvyers Association (with Johtr Cherundolo, Esq,); March 1995,
       1994 Presente!, "The \rocational Expert in Ecluitable Distibution'Irials," (wirh G, Cusrer); October
             1994.

       1994 Presenter, "The Role of the Occupational Rehabilitation Expert, Alatonl                  and   Trailna Go on'fia/,,,
             (withJohn Cherundolo, Esq,); May 1994.
      1989 Orgnni:,et and Ftescntr.!, {($Lro6tttred Judgrnentr jn Tort Actisns:. CPLIT ,rtrdcle 50}i" (wifh Dr,
           .]uqy Miner), New Ynrk Trial Lauryets As*ociarierr (lJpstate l{egron), Syracuse Ui:ivusity School of
            Lav; November 1989,
      1989 Ptesentet, 'Drug Tnhg in the .Wotkplacer Legal and Clinical Issues" (with Jules Snrith, Esq).
           WCNY/TV; host, Ms. Nancy Robetts,
      1989 Ptesenter, 'T,egal Issues       of Urine Dtug          Suweillauce           in the Wotkplace."    New Yor.k Bar
            Association, Continuing Education, Holiday Inn, Syracuse                    (l.l!.
      1989 Presenter, "The Oldet Djsabled Worket: Oppottunities as Rehabilitarion Counselors." New yo::k
           Office of Vocarional Rehabilitation, Syracuse 01Y); February 1989,
      1989 Presenter, "Life-Care Medicai and Rehabilitation Planr:ir:g for Victims of Vehiculat Accidents.,,
           J-aw Society of Canada, Toronto, Ontario; October 1989.

      1989 Coordinntot, Moderator, and ?resentet, "lDrug Abuse Education aod Prevention in out Schools,,'
           Syracuse Univetsity OfJice of Ptofessional Development, Matiott Hotel, Syracuse $I$,

      1989 Ptesenter, 'oJ-ife-Care Planning and Forensic Rehabilitation," Canadian Rehabiliration Association
           Continuing Education ?togtam, Quecns College, Kitlgston, Ontariol June 1989,
      1989 Ptesentet, "Life-Care ?lanning for Catastophic Pctsonal Injuries." Law Sociery                           of   Canada,
           Ontario Region, Continuirrg Education Series,'I'oronto, Ontario; October 1989.
      1987 Presentet, '14,n Overview of Cotttempotary Substances of Abuse," NYS Fotensic Ilurnan Service
            'Wodrers,
                        State Convention, Utica S'JY); March 1987,

      1987 ?$senter, "CocAlne, Cracl<, and Ftee-base," University of l(etrtuclry, Department of Rehabilitatiorr
            Counselirrg;   July   1987 .

      1985 ?resenter and Otganizer.,. "Complter Applications in Rehabi-litation." O,D. Heck Developmental
            Center, Schenectady       0{}J; Apdl   17-18, 1985.

      1985 ?resentet, "Networhing Principles              fot   Successfirl Rehabilitation." Region          WI     Contiluing
            Education Cor: fet ence, Dallas (TX)     ;J   une 22-24,   1 9 8   5.

      1985 lrcsenter, "Correlttes of Rehabilitarion Success: 'Ihe Case of rhe Chronic Fain Patient." Congress
           of ltehabilitttion Medicine, I(atrsas Ciry pvIO); Se1:ternbcr 29-Llctobei 2, 1185.
      1985 fuesentet, "Contempotary Roles             of Rehabjlitation             Counselots." Arnefican Association for
            Counseling and Development, New York SJYJ; Aptil 2,7985.
      1984 Ptesenter, '(ContemPorary Issues     in Rehabiiitatiott." A two-day wor.kshop for tehabilitation
            administators, managets, supetvisors, and counselors conducted at the O,D. Heck Developnental
            Center, Schenectady G'I:O; April 24'25,1984'
      1984 Presentet, "Substance Abuse and the Disabled."                           A   two-day wotkshop    for   rehabiltation
           adrninistrators, tranagersi supewisors, and counselors conducted at the O,D. Heck Developmental
           Center, Schenectady (ftrY); November B-9, 1984,


                                                           6
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 8 of 49




       L984 Presenler, "Rehabilitarion Perforvnance Profile," A one-day training wodrshop for tehabiljtarion
            supervisors and counselots conducted at tlre NYS O\{R District OFFtce, Aibany (fJY); Match 2,
              1   984,

       1984 Presenter, "Contemporary Issues          in   Rehabilitation; lmplications   fot RCE Progtams." Invited
              presentation   to   tlre faculty and $ftidents of the University of I(entuclry, Lexington   (iQ;   Aprd   13,
              1984.

       1984 Presenter, Testimony on behalf of rehabilitation traiuing and educalion before the U,S, Senate Sub-
            comrnittee on l-abot, I-Iealth, and Hunran Services, Senator Lowell Weicker (IvIA), Chair.; May 7,
              1984,

       1984 ?resentet, Testimony on behalf of rehabilitation uaining and education before the House Sub-
            comnrittee on Labot, I{ealdr, and I-Iuman Services, Congressman Natchet ((l), Chair; May 7,
              1984,

       1984 Ptesenter, "Tteatment and Rehabilitation Considcrations of Petsons with Post-Traumatjc Stress
            Disorders," InvitedpresentationtostaffofBenjaminRushCenter,Syracuse0.J9;June22,1984,
      1983 Presenter, "Rehabilitation in petspective: Legislative leadets, ptincipjes and ptocesses." Natiogal
           itehabilitation Information Center, Staff Developtnent Cotrfetence, '!?ashington pC); January
              1983.

      1982             "The relationship of chtonic pain to_pescqiption dtugmjsuse," Arnetican Pain Society,
             Presente.r,
             National Convention, Miami Beach (FL); Ocrober 1982,
      1982 Presenter, '?tescript.ion drug trertment and tehabilitation in arr outpatient setting." New York
             State Statevride   l)rug Abuse Confirence, New Yorh {N$; Apiil         1982;

      1981 Presenter, "A rnodel for performance apptaisal of rehabilitation counseiors," I'rnetican Personnel
           rnd Guidance Association Convcntion, St Louio (IvIO); April 14, 1981,
      1979 Presenter,  "A cotnparative review of rehabilitation programs transnationallyr Implications for
             lmptoved service delivery," APGA National Convention, Las Vegas (1'{V); Aptil 4,'1979.
      1979 Chairrnan, 'Vectory theory and the colotvector test in vocational tehabilitation services,'i APGA
             Natiorral Convention, Las Vegas       0I9; Aptil 4,1979,
      1977 P:rcseirtet, "}urpo$e$       and aurJirnces of prog"r'am eltludtiotl."
                                                                               pre$r:nled at Short-fcnn 'Irainhrg
           lnstitutc on lhogranr Evaluatiotr in Rehaliilitation lrnr:ilities, Syracuse Univemity, $yrrrcusc (IIYI
             May 4,1977,

      1977 Presenter, "The conduct of foliow-up sfudies of fotmer rehabilitation clients," Presented at Short-
           Terrn Training Insiirute on Program Evaluauon in Rehabilitarion Facilicies, Syracuse Universiry,
             Syracuse    O{!;   Muy 4,7977,
      1977 Presenter, "Prograrn Evaluation          in the    Human Services." Aanerican Personnel and Guidance
             Associat.ion   Natioual Convention; Match        7977 '

      1976 ?resentet, "Rehabilitadon o[ the severely disabled: Irnplications for teaching program evaluation,"
             National Council of ll.ehabilitation Educators, National S)'mposium, AJbany        fif);   May 1976,
      19?(l Presenter, "Issues in teaching teseatch in RCE cutt'icula," APGA National Convention, Chicago
            (IL);March 1976.
      1976 latticipant (Reactor), "New Methods    of teaching rchabilitation leEearch," American Personnel
             and Guidance Association, Chicago (IL);1976'
      1975 Preserrter, "Petceptions of relrabilitatrotr counselot educatior pr:ogram coordinatol;s arrd fanrlty         of
             the nclequacy of llCE progtams," Jlrnelicatt ?ersoanel and Guielancc Associatjon, New York             (Nli);
             1975.



                                                          7
 Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 9 of 49




            1973 Presentet, "Predicting rehabilitadon success from the Rehaltillwion Client Statut ,frale." American
                 Personnel and Guidance Association, San Diego (CA); February 1973,

            1972 Presenter, "The use        of the Rehabilitatiatl Slatilr Sruk for measuring clier:t outcorne and as an
                    ,indicator   of   counselor intervcutiotr." National Rehabilitation Association, San Juan pR);
                    September 1972,

            1972 ?resente!,      "The criterion ptoblern in the evaluation of counselo! perforrnance," Arnericarr
                    Rehabilitation Counseling Association (of APGA), Chicago (IL); Match 1972.
            1972 ?resenter, "Accreditation         fot whatP" National Rehabilitation Association, Chicago SL); March
                    1972.

           1971 ?resentet, "The importance of the dyadic tclarionship in the rehabilitation process." Amedcan
                Psychological Association Convetrtion, Washington (DC), 1 971,

           1971 Presenteri       "A    benefit-cost analysis    of the Wood County Ptojec* An illustrated le6ure.',
                    Intetnational Association of Rehabilitation Facilities Convention, Now Yolk $lY);June 1971,
           1971 Presenter, "The organization and delivery            of   rehabilitatiotr services   fot the r'etarded in   Israel,,'
                    Atnerican Association of Merrtal Deficiency Convention, Houston           (IlQ;June 1971.
           1971 Presenter, "The measurement of client changer An idiographic atrd nomenthetic clilemrna,"
                Oregon Research and l'raining Center itr Mental Retardalion, Training Session, Universiry of
                Oregon, Eugeue (OR); May 19?1,

           1971 ?rcsenter, "The Wood County Ptoiectr Implications for rehabilitatios counselors." Oregon
                Research and Training Center in Mental Retaldation, Training Session, Univirsity of Otegon,
                Eugene (OR); May 1971.
           1970 Prese$ter, "Colrelatcs          of clie*t satisfaction in an expandgd vorafional rehabjlitation pfogram,"
                   Nnrionsl Reh*rbjlitQtioq.Assecixtion..Annual      {Jonvcntiiil, $an Diego (Crl); Septembcr 1970,
           1970 ?resenter,  "A scale of rehabilitation gain for ciients of an expanded vocatjonal rehabilitation
                   program," National Rehabilitation Association, Annual Convention, San Dego (CA); September
                   1970.

           1970 Presenter, "The Ml:ncsota model of work adjustment fot the tehabilitation coutlselor." Indiana
                State Division of Voca[ional Rehabilitatiorr, Aunual Conventiotr, Indianapolis (IN); August 1970.

           1970 Presentef,, "New ilends            in   vocaltonai tehabilitation," International Symposium on Juvenile
                   Dabetes, Betienson Hospital, Tel Aviv, Israel; ApriJ 1970,
           1970 Presentet, 'lfhe lffood Courrry ?roject: Ao Overview." National Rehabilitation Council of Israel,
                  Jenrsalem, Israei;    April   1970.


Serwpe-

A.   Conttibutions to the School and University
     1.,   School of Education Appointments
           19t0             Chair, School of Education, Annual Retreat Program Cornmittee, at 1000 Islands Resort,
                            lTellsley Island (l'{\).
           1983 Y   1989 Mernber, Corunittee on Teachtrrg, for Asst. Ptof, Timothy Chandier, Health,                    Physical
                         Education & Recreation Faculty.
           19SB   Y 1989 Chair,Judicial and Academic Standatds Committee..
           1987 V   1988    Chair, Judicial and Acadernic Standatds Committee,
           1954V 1957 Soatd of Graduate Studies (3-yeat appointment), Syracuse Univetsity.


                                                                B
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 10 of 49




               1984 Y 1985                      Faculq' Search Comrnittee, Division    of Ins&uctional Design, Development and
                                   |v,1CI1be3,
                                   jrvduatloh.

               1984    v   1985    X{einu-cf, Faculty Seatch Committe€, Depart$rent           of     Rehabilitation Services
                                                                                                                             6IEAS
                                   progrnrn),
                           1984    Men:rbet, Examinations and Judicial Commitee.
                           1983    Chaiuna$, stegrne committel for the "Developmcnt of a Joint Doctoral program.in
                                   Rehabjlit*tion Counseling aad Counseling and Guidance."
                           1983    Membet, Ad lroc Committee, "The Improvernent of Communication Skills arnong SU
                                   students,"
               1982+ 1983 Membe4 Search Con:mittee, RCE Faculry gsalgh Corunittee.
              1980 Y 1982          hrtrerrber, Research curriculum comrrrittee (sub-committee                of the core cauqe
                                   Co,urrnittee).
              19784 1979 Memb er, Examinations and Judicial Committee, Syracu se Univetsity.
              1977    4 1980 Mernbbt, Publications Cotnmittee, S;,tacuse University.'
              1977    4 1978 Membet, Education Resourceg Center Advisory Committee, Syracuse University.
              r97s Y 1976 Member, cornmittee                  on Relationshipe of    su   schooi      of   Educadon and Geriattic
                          Populations,


B.   Contdbutions to the Profession
     1.       Membetehips
              Intematiorral Association of Rehabilitation Professionals

          .   Academy of Forensic Relrabilitatiou Reseatch
              National Associauon of Forensic Economics
              Arnerican Counselirrg Association
              National Rehabiiitation Association
              National Rehabilitation Counselirrg Association
              Rehabilitation Counselors and,Educators Association
              Electecl Offices
              19B3   Y 1984 President, National Council on Rehabilitation Education,
              1981   Y 1982 Regional Representative (R.Son IQ, National Couacil of Rehabilitation Educators,
              1979 V   19B0 President,          .A,rnerican Rehabilitation Counseling Association,

              1976+ L978 Metnbet, Executirie Boatd, Arnedcan Rehabilitation Counselir:g Association, 3-ycar rerm.
                       197   3    lresident, Wisconsin Rebabiljtation Assocjation,




                                                                    o
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 11 of 49




       Appointment Responsibilities and Horrors
       2012                   Distirrguished Alurnni of the Yeat, the Univetsity of Wisconsin                            -   Madison, Department   of
                              Rehabifitation Psychology.
       2012-Ptesent           Chair, Acaderny               of    Forensjc Rehabilitation Reseatch, Str.rdy Groupr 'lilork-Life
                              Expectancy.

       2002-2005 Member, Editorjal Boatd, Jaawal of Forcnio'Vocalional Atssuent, American Board of
                              Vocatiotral Expetts; Sruce Gtowick, Ph,D,, Editot,
       1gB7       - 1990 Member, Editorjal Boatd, Jounal                         of Ileligioar   Inuu   and Diwbilitg,

       1987 -         19BB Membet, Ad'r'isory Committee, R & T                            Center; Traumatic Brain        Injury, Mt, Sinai Hospital,
                              New York         (l'J!.
       1985-1986 Men:rbet, Advisoty Comrnittee on                                      Naltre>(one Thempy Research, NYS Division                   of
                              Substance Abuse Services, Jrilio Matrinez, Dnector.

       1985       - 1986      Member, Onondaga Couhty Consortiurn on Alcoholism and Chemical Dependerrcy.
       1984       -   1985   Repr'esentative, National Council on Rehabilitation Education to Council of State
                             Administtators of vocational Rehab.ilitation (meetings in San Dlego, CA, and'D?ashington,
                             D.c,).
       1981       -   1983   Represetrtative of the American Rehabilitation Counseling Association to the Council or:
                             Rehabilitation Education                  (coRr), ,the accrediting agency for U.s, RCE prograrns.
                             Chairman of COR-E Research Committee,
       t9B2 - 1983            Member, NCRE Cotnmittee, Rehabilitationists                                    in the N4arkeplacer Alretnative
                             Empioyment Opportunities
                             'Membet, NCR-E Conrmittee, General Membersldp Convention
       t982 - 1983                                                                    Program Comnittee,
       1981   -       1983   Member, New York state Division                               of    substance Abuse services, commiftee on
                               cription Drug Abus e.
                             Pres

      198r - 1983            Membet, New York State Region                          IIi   and    IV Planning and Evaluation Cornmittee for
                             Drtg Abuse          Services.

      1977    - 1983                                         ail Ditabilifi Soumal),
                             Consulting Reseatch Editor, SexualiE
                      1981   Nevr York State Cornnrissions on the International Year of Disabled Persons:
                             Accountability, Standards and Quality Assurancc Comrnittee. Appointed by the
                             Honotable Hugh L, Catey, Governor.
      1979    -       1980   Menrbet, Aclvisory Conrmittee to the Nev York State Office of Vocational Rehabilitation.
                             Appointed by NYS Deparhnetrt of Education Commissioner Gordon Arnbach,
      t977 - 1979            Member, Ptofessiorral Practices comrnittee                                 of the Executive           Board, National
                             Rehabilitatior: Asso ciation, Dr; Henry Williams, Chaitman,
      1976 - 1979            Cira:rman, Editorial Board, National Rehabilitation Association.
      1977 - 1978            Edtto r, J ou n a I of Re ha bi litat i o a.
      1977    -   1.978      Distinguished Professional Service Award, Centtal Nerv York Chapter of the Natiogal
                             Rehabilitation Association; presented Decernber 1977,
      1973    - 1974         Mernbet, Pr'ime Sn:dy Group, Institute on Rehabilitation Issues re: Evaluation of
                             Counselot ?elfotmance,
      1972   -    1973       Membet, Goveflrot's pucey, .ilII) Task Fc:cc                                   on   ?roblerns        of   the physicaly
                             Hatrdicapped. Chairman, Comnrittee on Rehabilitntion                             an<i   Edncarion.



                                                                            10
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 12 of 49




        1971      - 1973 Member, NCRE National Research Cornm.iuee.
        1971      - 1973 Chairman, National Research Comn:ittee,                     American        Rehabilitation' Counselirrg
                              Asoociation.
       Past Corrsultarrt Activities
       1986    -   1990       certified Rehabilitatiorr speci*list, u.S. Department         of   Labor, Bureau     of   lWorkers,
                              Conrpensation
                    1989     lrogtam Evaluatot, San Diego State Univerrity, Exlernd R.cvievet of the f)epartn:ent             of
                             Adminisuation, Adult Education, ancl Reh*bilitation; Apdl 1989.
       1989    .   2005       Peer Reviewer, U.S. Department           of Bducation,      Office     of   Special Education    &
                              Rehabilitation, Rehabilitation servjces Adrninistration, Long-Term Training Grants;
                              March 1989,
       1989 - 2005            Peer Reviewer, U,S, Depattment          of    Educadon, Office         of   Special Education &
                             Rehabilitation, National Institute on Disability and Rehabilitation Rcsearch, Fieid Initiated
                             Research Proposais; April 1989.
       19B3    -   1986      Consultant, Rehabilitation Services Adrnitrisltation and National lnstitute for
                             I{andicapped Reseatch, Washington (DC); peer review of grant applicatjorrs for larional
                             tesearch and uairring furrds,
                   19B5      Consultant, Research and 'l'raining Center irr Rehabilitation, The University of Arkansas,
                             Fayetteville (AR).
                   1985      Consultant, New York State Division of Substance Abuse Services, Naltrexone Addicts,
                             Julio Maltinez, D.ir'ec Lor.
                   1   985   Consultant, City of Syrncuoe, Emploi"rncnt Program           for    Substauce Alrusers, Jan Dail,
                             Ptoject Directot.
       1982   -    1983      Consultarrt, Ftrationai Rehabilir:rtiol Irrfortnation Crcnter, Catholic Univetsity, tffaohingtein
                             pC); technicat assistarec sfl rhe use of tehabilitatioo infc'rnratios ia an inf<rrmJdon
                             tetfieval system.
       1981 - 1983           Conrulront, Nevr York State Office             of   Vocatiorral ll.ehabjliuriorr, Albany $.{y);
                             developnrent of ,a system fot rehabilitation petsonnel petfotnrance analysis.
      1981 - 1983            Consultant, Pelion, Inc., Sytacuse       0J4;       development    of   prescdption &ug rnisuse
                             rehabili tation plogranr.

      1980 - 1982            Consultant, San Diego Univetsity, Sal Diego (CA); research and progarn eva.luation               of
                             the major research gralrts,

                  1982       Consultant, Pelion, rnc., syracuse   $'l!;   developrnent of vietnam era veteran readjustrnent
                             counseling program,
      1979 - 1980            Consultant, The \ilothohop Incorpotatjon, Merrands (bJY); development               of a prograrn
                             evaluative sy$tem.
                  1979       consultant, suNY upstate Medical center Brun Treatmenr uniq development of grant
                             proposal for reseatch on buru ffeatment.
      t977 - 1979            Syracuse Veterans    Adminisrration Hospital, I)epaxLnrent of Psychological Services, Dr.
                             Tlromas Lazzato, Clief .
                   1978      Consultant, Rehabilitation Research Utilization Project, Rehabilitation Research Instirute,
                             Univetsity of Flotida; Dr, John Muthatd,
      1.977 -'1978           Consultatrt (volunteer), community services Syston Project, Hutchiogs psychiau{c
                             Center, Mt, John Sheets, Project Di-tector, Syracuse    OI4,

                                                             1l
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 13 of 49




       1977   - 1978 Consultant, Evnloation of thc California Project (Ir4arc Gold, Project Dir'ector), San Diego
                   .     State Urriversitp ftehabiliiatiou:Center, San Diego (CA).

       1917   -   t978   Consultant, Project HEAR, San Diego State Univercity, Rehabilitation Center, San Diego
                         (CA).
       1917   - 19'18 Consrrltant, Rehabilitation Research Institute, The University of Michigan, Ann Arbor
                      MD; October 1977 and Febtuary 1978,
                   1977 Consultant, SUNY Upstate Medical Center, Buttr Treatment Unifi assisted with
                        preparation of $3.1 Million dollat project whiclt was approved; July 1977,
                   1977 Consultant, Rhode Island        State College, Rehabilitation Counselor Education, Professor S.
                         Eookbindet, Cootdinatot, rer ?togram Development and Educatiotr; Spring 1977,
                   1976 Consultant, Rehabilitation Center, San Diego State Universi{, Dr. Fred McFadane,
                         Director, San Diego (CA); December 7976.
                   1976 Consultant, California Departrnent of Vocaiional Rehabilitation Progam Evaluation and
                         Statistic Section, Dr. Paul Mueller, Chiefl San   Dielo   (CA); December 1976.
                  1976 Coirsultantr State      of
                                              California, Department of Vocational Rehabilitatiotr, Divisiol of
                         Evaluation and Statisucs, Dr, Paul lvluellet, Chief, Technical \Wtiting Worhshop, San
                         Diego (CA);July 1976,
       1974   - 1976 Consultant, Lakeland Counseling Centet, Alcoholism Tteattnent Program, Elkhorn (WI);
                         1976.
      Tmining, Presentatiotre (paid), and Workshops Conducted
            '1987 Ttainer,
                            "The Prqiamtion of Grant Ptoposals", Department of Social Sewices,                        St.
                         Thotnas fltrI),
                  1987 Presenter, "A Drug Testing in lndustry", IVCNY Centrai New Yotk Business; Ms. Nancy
                       Roberts, Host, Sytacuse OID; February 1977.
                  198? Presenter, "Cocainel Neurophysiology and Eff'ects," Community General Hospital, CNY
                         Nursing Associatron, Sytacuse (lrlY); February 1987.
                  1985 Trainet, "Cornputet Technology irr Rehabilitatioo," O,D. Fleck Developmental             Cerite.r,
                       Schenectady $'IY), Mt' John Dee, Ditector of Rehabilitation,
                  1983 Trainer, "Rehabilitation Legislation, Leaders, Pdnciples and Ptocesses," NARJC,
                       Washington Q)C); J anuary 24' t9B3'
                  1981 Trainet, '?reparation of Grant Ptoposals," The University of JGntuclry, RcE-Extension;
                         I'Iay 1981,
                  19B0 Trainer, "The Preparation of Gtant Ptoposals," NRA Pre-conventiorr Wodrshop; Chicago
                       (IL); October 11, 1980'
                  1979 Trainer, "Professional !?riting fot Human Services Petsontrel," a two-day workshop,
                         Syracuse   (Nl);   JanuarT 17-12,   197 9.

                  1,979 Trainer, '?togram Evaluauon in Mental Hygiene Settings," Binghamton           (.J$   Psyihiau.ic
                         Centeri J anua ry 29, 197 9.
                  1978 Trainer, '?erfot'mance Evaluation for l{unran       Serwice Agency Admidstr'atots", a five-day
                         workshop, University College; May-June 1978.
                  t9?B Trainer, Massachusetts Vocational Rehabilitation Commission, "Technical \X/riting for
                         Rehabiltation Agency Petsofinel,", a fwo-day workshop; August A.-25,1978.



                                                             72
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 14 of 49




                        ,ftair:er,               Wisconsin-N4adison, Rehabilitation R & T Centet, ('Future
                                                  of
                 1978                University
                        Legislation and Prograrnrning in Developrnental Disabilities"lJune 26,1978.
        '        1978 Trainer, "Program Evaluation in Rehabilitation Facilities," VALPAR Corporation; June
                        72-74,1978.
                 1978 Tra:ner, "Developir:g Leadership Among the Elder\r," Gerontology Center:, Syracgse
                        Univetsi ty, Syra cus e (IiY); Augus t   3-   4,   19'7   I'
                 1978 Tniner, NY Deparrment of Mental Hyg.iene Program Evaluation Conference, "Program
                        Evaluariorr in llehabilitation Settings," Lake Minnewaska (I.{YJI Septembet 28,1978.

                 19?B Speaker, "PLogram Evaluation               in   Rehabilitation Facilities," California RehabiUtatiorr
                        Associatron Convention, F'tesno (CA); March 7,7978'
                 J978 Trairrer, "Caseload Mar:agement Principles and Practices," presented to practicing
                      rehabilitation counselors and supervisots; Research and Training Center in Mental
                        Retardation, dre Univetsity    o   f \Tisconsin-Madisoni Febmaty     20   -21,   1   97 B,

                 19?B Trairung Dbector and Trainer, "Appraisal of Pubiic Service Employees," a six-week
                      course at University College of Syracuse University for Onondaga County goveffiment
                        March-APdl1978.
                 1977 Trainer, "Bvaluation jn Rehabilitatiotr," a rnini-coutse for DePaul Urrivetsig, Chicago
                      (IL), conductcd in Ann Arbot S'II); May 13-15' 7977,
                 1977 Piesenter, Short-term Ttaining Confetence ('The Use of Data in Progam Evaluation"
                      "Follow-up Methodology," Prof. John Muthatd, Training Dileclot, Odando (FL); January
                        1.977.

                1977 Workshop, "Technical \Ttiting for Rehabiiitarion Agency Personnel," Muiti-Resources
                                     (M\); February 1977'
                        Center, Mir:neapolis

                1977 Wotkshop, "Technical Wtiting fot Rehabilitation Agency Personnel," Regional
                        Rehabilitation Continuing Education Ptogram, University of Mssouri;July 7977,
    International Activities
                1979 Reseatch Fellow, World Rehabilitation Intetnational, New York Q.J$ and Washingtbn
                        (DC); six-week strrdy in England entitled, "Ptogtam Evaluation of Cornmunity Support
                        Systerns" tesultirrg in reseatch repotl of same tide; July-August 1979,
                1979 Ptoject Evaluator and Sitc Visitot on behalf of the U.S. Rehabilitation Services atrd
                        Adminisuation to research and training ptojects in Cairo, Alexandria, and Feyome, Egypt;
                       JulY 1978.
                1978   Sjre Visit Host for ProFessor Yetriah Darwish, Dean, High Instih:te of Social )7or\ Cairo,
                       Egypt, wl:o visited the Syracuse Univetsiry's RCE progarn and rehabilitation progtams in
                       the Syracuse atea; January 24-n ,79"18'
                1.977 Droject Evaluator and Site Visitor on behalf of the U,S. Rehabilitation Services
                      Administration to 11 tcsearch and tlainir:g ptojects in Beigrade, Ljubijana, and Portoroz,
                       Yugoslavia; June l9-JulY 2, 1977'

       1974   - 1975 Member, International Education Cornmittee, American Personnel and                              Guidance
                       Association.
       1969   - 1970 Spent 9 months irr Israel assisting with the developrnent of the flust RCE ptogtarn outside
                     of tbe U.S. and conducung a survey of the rehabilitation resources in that country,
                       published as a book, Rahabilitatton in Istacl,



                                                            IJ
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 15 of 49




          Past Evtramural Grants and Projects
          1990 -      1991 Project Director, Long-Term TtainLrg                      in    Rehabilitation Counseling, U.S.E,D,,
                                 Reirabilitation Services Adlrinis tration,

          19B9 -      1990       Project Director, Long-Terrn Training in Vocalional Evalualion and Assessment Services,
                                 u.s,E,D.
          1989    - 1990 Project Dilectot, Long-Tetm Training                  ih    Undelgraduate Education          in   Rehabi,litation
                                 Sewices, U.S,E,D,, Rehabilitation Services Administtation,

          1986 - 19BB            Project Drector, Long-Ternr Training                iu    Rehabjlitation Coutrselirrg, U,S.F..D.,
                                 Rehabilitation Sewices Administtation'
          1986 -      1988       Project Director, Long-Term Trailing in Rehabilitation Sen'ices, U,S,E.D., Rehabilitatiol
                                 S   ervices Adminis tration.

          1986 -      1988 Project Directoi, Long-Tetnr Training in Vocational Evaluation in Rehabilitation,
                                 U,S.E.D., Rehabilitatiorr Servi ces Adminis tra tion,

          1980    - 1981 Frojcct Dfuector, Matedals Developnrent Grant, "'l"r:aiuing rrateriais lol commulity
                         residence persorrnel, lJtls )O(, New York State {Jffice of Mental Retnrdadon and
                                 D   evelopnient Disabilities,"
          1,979   - 1980 Long-Tetm Training Grant Proposal    to Reliabilitation Services Administratlon) new
                      $aduate  ptogram  'Vocarional  Evaluation and Wodr Adiustmett."

          1977 - 1980 F*oject Dilcctor, Long-Tetm Trai:rir:g ?tojc*t in Vocational l{ehnliilitrition Counseling,
                      gr*duato level Reh*hijitation $ewiccis Aslcnini*ttation, OHD-FIIIW, V/**hing,ton PC).

          1977    - 1980 Project Ditector, Long-Tetrn Training Ptoject in Undergtaduate Rehabilitation Services
                         '       Education, OHD-HE\?, Washington (DC).
          1978-1979 Training Dfuector, Short-Tetm Ttainhrg (national scope). Post-employment Services for
                                 Rehabilitation Clients, Reh abilitation S ervices   A   dminis tration; May 1 979,

          1977    - 1r7B Training Dl(ector, Institute on Progtam Evaluation for Rehabili.tation Agency Personrrel;
                                 Rehabilitatiorr Senices Administtation (OHD-HEW), Sytacuse University; May 19?8,

          1976    -   1977   .   Ttaining Duector, Instin:te           on   Progtam Evaluation        in   Rehabilitation Facilities,
                                 Rebabilitation Servicee Aclrninisu'ation (OHD-HE!?), Sytacuse University; Sprirrg 1977,


C.   StudentAccomplishmente
     1.   DoctoralDissertatioirs: Cornpleted
          a,      Cotnmiitee Chair (vlaior Professor)
                  1)                                               counsering' 1ee3) Perceived medical and human service
                             |;j::'"fi::i:n$;}r#f:f
                  2)         Robertson, Bozena (X.ehabilitation Counselirrg 1989)              A qualitative strrdy of      female adult
                             children of alcoholics,
                  3)         Odeck, Alex (nehabilitation Counseling, 1989)            An evaiuation of vocationai rehabilitation
                         .          fot the self-employed in I(enya, Africa.
                             services

                  4)                                                           A    ractor'a'arvtic studv   or the     PAsS ptograrn
                             ff','l;,'YT,.,ff',1i1,,-,:';lf;1ij;;:,:?,
                  5)                                                                                                          rerared to
                             H'mffi:llrsl*'"":iH;,:.:il:"J;?-i":'1,i":'Ji::i1ff".:"n"""ces
                                                                  t4
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 16 of 49




                      6)    Witlen, Barbara S"tchabilirttiarr eourrreling, 1981) Preparation and utdization of
                            undergtaduate worknrs io rchaiiilita tionl Courpacadve perceptions o f responden Ls.

                      7) o'Nli!"       John $.ehabiiitation Counseling, 1980) The rcactiviry and accuracy                of   self-
                            rnor:itar:ilrgr Conuillutjon of valence and timing of monitorlhg
             b,       Commiuee Member

                     1)     Cumow, Tom (llehabilitaiion Counseiing, Mernbet).
                     2)    Willis;Mchael (Adult Education,       1984),

                     3)    Mouio, Geraidine (Special Educatiou Ad.ministration, 1983),
                     4)    Giordano,James (Special Education Administration, 7g82),
                     5)    Tater, Marh (Developmental Psychology, 1982),

                     6)    Walrnet,Jaclc (J{.ehabilitation Courrseling, 1978),
                     7)    Flynn, Robert (R"ehabilitation Counseling, 1976).


D   Contributions to the Comrnurrity
    L        Presentations andpublications fornon-professionalaudiencee
             1987 Presenter, CONTACT Counselot uaining, Syracuse $iY).
             198? Volunteer, ABC (A Beffer Charrce); assistance with gtant proposals,
             1985 Participant, Jamesville-Devdtt School Disttict, 'hlOT          ldEl'   Substance abuse educational television
                     progr?m (panelist),
             1977 'frainer,'llrogram dvaiualiou for Unitesl Way Agerrcies,'" Voiunt3p, qrining corrductecl as part of
                                                                       'Wot'Jcsl:op,
                  Syracuse Votrunt*er Cen{e.t'* Leaderulr.ip ?rainilg,               Hotel $yracuse, Syracuse. QV!;
                  Sepronber 2$,19?7.

            1976 Co.clirentor, )-eadersbip Developmcnt Pro&[6r$ for Boud Member:e of Conunurriw sor:vrce
                 (Jrgordzetirxts, stlpported by a Crunpaigo for l{ur:nn Development grant,
                                                                                           U.S,'Carhojjc
                 tjplfcrencc to Uuiversity Collegr, $yracwe 0{$; Spting 1976.
    2,      Advisory Board Membetship
            1989   - 1990 Mernber, Cental New Yotk Araputee Support Network Advisory Committee.
            1985 -   1986 Meur'bet, New l'st'k'     Sta'te Dir'ision of Sut$lnsce rllulc Serrices, Nalttexong Therapy
                            ?r:og,ram, Julio Mattiuez, Directnr, Charles Laporte, Aesocjate Djrecior.

            1982   - '1985 Mernber, Onondaga County Intetagency Advisoty Committee                orr Substance Abusc.
            1981   - 1985 Mernber, Nerv York State, Divisiol              of
                                                                          Substance Abuse Services, Comrnittee on
                            ?resctiptiori Dmg X4isus e, Treatm ent aniJ Rehabilitation.
            1981   - 1983 Member, New Yolk State .(Region           IIi   and   I\)   Planning and Evaluation Committee for
                          DrugAbuse Servjces,
            1981   - 1982 Mernbet, Govetnor's (Carey) Advisory Committee on the ltrternational ycar of Disablecl
        .                 Persons; Accountability Subcommittee, Albany (IJy).
         1978      - 7979 h4.crnlier, Lnlanrntisnal Rehsbilitadon and-spccial Education Network, Dr, Donald Galvin,
                          I)irector; ldichigan Stare Urriversityl East lanriug (vI!.
         1978      - 1979 Metrber, New York State Comtnission of Education's Advisory Council to the Office of
                           Vocational ltehabilitation, and Policy and Procedures Committee of tle CouncjL

                                                            15
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 17 of 49




       1978 -1919    Menrber, Onondagn 'County    (bi$ Ilcpnmmerit of Mental Healdr, Cornmunity Service
                     Soald* Mental Rel*tdarion snd Developmant Disabilities eorrrnittee,
       1918 - 1979   Mernber, Onondaga County BOCES, lroject S"fEP Advisoty Coalition,
       1978 -1919    [rlembet, Nev' Yotk State Department   of   Educarion, Statewide Advisory Council on
                     Adult Learning Services,
       1975 -1919    Member, Advisory Boatd, Clicnt Assistarrce Project, National Urbat League, Syracuse
                     0{9.
       1977 -1978    lv{ember, Adr"isory Board to Ptojeit PREP, Human Resources Centet, Albettson, Long
                     hland   (|i$'




                                                 l6
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 18 of 49




                        EXHIBIT C
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 19 of 49




                              CUnTCULUMVTTAN
                             Norman   . Less               Ph.D.



  BU$IN,EIS Appl{Eqql             307 S, Towngend Sbeet
                                  Syracuse, New York 13202
                                  316 424-9708 (telephone)
                                  315426-927 0 or 315-682-0908 (fax)
                                  njlesswlng@gmail.com

  ARS&6 pry {II0IIE$$IQNAI        Full-time private practice of clinical and fotensic psychology,
  PRAETICEI                       limited to consultation and evaluation.

  acArruHl# Dscttp;$$l

  1973 - 1977                     Ph.D.   -   Pennsylvania State University
  197   |.   t9'13                M.S, - Pennsylvania State University
  1965. 1969                      B.A. - Allegheny College
                                              Meadville, Pennsylvania
                                              Honors in Psychology




  PITOFSSSIONAL EXPEIUENf;   [r
  2015-prosent                    c@PSypHoLoGIST
                                  Elncrest
                                  D:u$ea inclu*e"; Psychological evaluation of youth placed   in
                                  residenfial treatment.

  2013 - present                  {p}rsu. r T{vG ctJs.{cAL J,$vcIJor o Gf sll
                                  County of Oswego Deparhnent of Social Servlces
                                  Duties include; Provide comprehensive psychological evaluaHons
                                  of youth and adults referred through Famfly Court

  2012   -   prosont              f, g.4f;NSI   CJS vcHO r,O GIST
                                  Oreida County Public Defender Office
                                  Wir*jneludw Conhactwith Oneida County to provide
                                  forensic psychological consultation, evaluation, and expert
                                  testimony in criminal cases.

  2009 - presont                  coi$$lrr,mnrf .gLINJCAL ps{, csotoGl$T,'
                                  Syracuse Police Departurent
                                  nilNgt inefudgi Pre-employrnent psychological evaluations of
                                                               with syracuse Police Department
                                  poUce applicants; consultation
                                  adminishation,
    Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 20 of 49




      Nounan ]. Lesswing, Ph,D.                                                                    Page 2

      2008                        ,dg.IING,C&J,IV.'CJ[.Q;r$ECg03
                                  Brownell Center for Behavioral Health Services
                                  D uli e a i tftJ! t 4e,l: Prov ided clinical leadership, staff superrzision,
                                  and organlzational consultadon on a part-time basis, during a
                                  time of hanslHon, at a large NYS Oflice of Mental Health
                                  certifled outpatient cll:ric,

      2007   -   present          p gNs!&rrNG crrNrca L
                                                             "ps
                                                                 ycHqr o c-ff         I
                                  Madison County Mental Health Deparhrent
1
                                  Dfites*rfu&: Proviiie psychodiagnostic assessments and
I                                 Family Court testimony for Dept. of Social Service referrale and
i
I                                 court-ordered Article 730 Examinations,         .

i

      2004   -   present          oorl-{lll$rvscr-INrc4rf,9y€{ols$rsl
                                  Cortland CountyDeparbnent of Social Servlces
                                  h$.!e* include: Psychological evaiuations of adults and
                                  adolescents referred by casewolkets; Family Court testimony.

      2A04   -2005                go.N$   u-trrNc FoRENSJ q Psvcfiqr o gg:[
                                  Integrated Domestic Violence (IDV) Court
                                  *fities fnclud*t Provide psychological evaluatioru of families
                                  referred by Judge Martha Walsh Hood through a one-year grant
                                  from State of New York Unilied Court System, Fifth Judicial
                                  District,

      2002 --presont              corysgt"?'rNc.c1#vlc4lp.qy.cJ{"o4gc,r,sI
                                  Delaware County Department of Social Services
                                  ny&g-!@gdg Psychological evaluations of adults and
                                  adolescents referred by caseworkers; Family Court testircnony,

      2001   *2008                g.aN,5r&?S{,8 CI,Sfi O{      t psyg&Q,qclgf,
                                  |OBSplust
                                  Ononda$a County
                                  F:r&p i_.tlt&t Provide psychological evaluations through
                                  TANF Service PIan to assess client functioning for employment
                                  and disability determination, Budget eliminated in 2008.

      2000 -2008                  ,B   ryr.aY rc n&Ll   nALr r! cgN€    rrtl4$r
                                  National Grid
                                  Syracuse, New York
                                  Std,iep irt.k{e; Provided routine psychodiagnostic asseesments
                                  for Niagara-Mohawk enrployees on psychiatric disabilify;
                                  consultahon with Medical Director and case uranagenent staff
                                  regarding mental health treabolent issues for employees.
                                  Consultlng arrangementchanged to as-needed basis with
                                  NaHonal Grid,

      1999 - 2001                 FOSSJ{$IS/r{IIG;rlIr6.lV_A$"QgrrlJ'}S,LrC
                                  Qil.ffgg irqfil&di Parbnership wihh attomey to provide criminal
                                  Iawyers with comprehensive mitigation serviceg for clients
                                  charged with capital murder; dlsconthued as a result of
                                  reduction in death penalty Iitigation in New York State,
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 21 of 49




  Nounan J. Lesswing, Ph'D,                                                                     Page 3
   1998 - 2000                dllfigNls'x4Arcvcrg
                              Benjamin Rush Center, LLC
                              Syracuse, New York
                              Br*iea igqhu,e&; Chief executive with overall administrative
                              responsibility for operation of 107"bed ]CAHO-accredited,
                              speciaUzed inpatient private psychiatric hospital, Negoqated
                              sale and transfer of the hospital to new ownership,


  1998 " present              cQ N SUL,WG cLrN rc,AL P $v              cIIgL o   GJ$.r,
                              Cayuga Home for Children
                              Auburn, New York
                              Duties lndfid* Psychological testing and evaluation of resident
                              youth; consultation with heahrent staJf,

   I   997 - 2009             cLJI[C1{t.PS*yCHO[,O-(I{gONSI{I.TAN,T
                              POMCO,Inc,
                              Slnacuse, New York
                              Dgtiea-irryAli$ Utillzafion teview of psychological testing
                              servicesl peer reviewer.

   1996   - 1998              rc$IiN_slt     {}g   yfrrQ{   CI   Gy cpl{s ULI?rArg
                              Capital Defendet Office
                              New York State
                              Qri&e !mllt&: Provide assessment and consultation
                              concerning psychiahic defense and mitigaHon issues rn death
                              penalty litlgation.

   1996 -200',1               ctlNra?{r P$vf, r{sl o 6y coN$.ul,r4Nr
                              leIion, Inc,
                              Syracuse, New York
                              D\ljgp iflchrdS/: Dual-diagnosis assessment and group therapy
                              treahnent of outpaHent chemical dependency patients, etaff
                              consultation and supervlsion. Clinic closed tn 2007,

   1996   -   1997            rjY4g44!'_ff rDt$drff.I?Ts0]rpuI.3?"1Nr
                              Siret Fortis Life I;nsurance Company
                              Syracuse, New York
                              D?ttgre   itryhLicll: Weekly consultation regarding psychiahic
                              status of long-term dieability claims and ca$e management
                              recommendations, Office was relocat€d,

  1995 - 2009                 cfrN$ r{& fr qvc tLg{rG$LP{            r'crior   p G/$r:
                              TullyHfll
                              Tully, New York
                              &$les t?tclul!: Provide treahent consultations              and
                              psychological and neqropsychological assessment with
                              chernlcally dependent inp aHents,

  1995 - present              ,SSry:$eW                                                   '
                              nsummatory vs, InshumenSyracuse/ New York
                              Syracuse, New York
                              Dilt*t ivcltde! Psychological consultation and assessment of
                              youfls and adulte involved in agency programs.
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 22 of 49




   Norman ). Lesswing, Ph,D.                                                              Page 4



   r99s -2001                  egNsr&?:rNc_cf,Ilvrc4L lx;vsfl oI, oJiJ$I
                               Blue thield of Cenhal New York
                               Syracuse, New York
                               Dt$iA* ittpfu der* Utilization review of'psychological evatuatiol
                               services,


   t994 - t995                 ,tcxTyc,gIlNrg.4L,sF3yr.cJ         c. H.IE#

                               DTIAT-.DAG-NOSISIJMT
                               Benjamln Rush Centet
                               9yracuse, New York
                               SUtiFs inoludedt Clinical and administrative consultation to
                               management, staff, and patients of inpafientpsychiahic unit,

   1994 - plesent              POLICESSJCIIOLpcrsr
                               Varlous local tov"n and vlllage police departmento
                               n6jCg_i34f11!fu, Psychological assessments, interventions, and
                               consultations related to policing issues, including hiring, fitress
                               for duty, and critical incidenk,

   1994   -20t1                c o N s ULTTN C CLIN I C AL P s v CH oL 9 pIfT
                               Jeffetson CountyDeparlment of Social Sercices
                               Watertown, New York
                               il-pfieej$d:ttded: Psychological evaluations of referred
                               adolescents and adults; Family Court testimony.

   1993 - 1995                 _cp"f   g$t&ru{geurgs4l.pjv_cgsrQQI$I'
                               Chemical Dependency Unit - Benjamin Rush Center
                               Syracusg New York
                               F*fiaa tvc[lttte: Routble mental statuo examinaflon of a1l
                               patrents; assessment and dispoeition of psychiatric emergencles,

   1993 " 1994                 "r'(IIIJ!IDLIVCFJIJ!$XPEN]]r$vcEfi 4dNdCEMEN_r.rNe.
                               Syracuse, New York
                               Dfifiss ivcludert Administrative directiorr of 12-member MSo:
                               proposed development of Provider-Hospital Organization;
                               strategic and business planning.

   t99o - 1993                 DIn DcTOn, i?svglrofrf EJ?4PY d$SOCI/i?T$
                               Sytacuse, New York
                               n_idjs.e afu de 4: De velop men ! management, and marketing of
                               comprehensive, multidisciplinary outpatlent mental health
                               services group; administration of managed mental health care
                               coneultantsi development of successor organlzation Poych
                               Management, lnc.

   1988 - 1989                 cffNIC,U, FSyC$OIO Gv CON.' UI'fAMI
                               Rush Recovery Cenier
                               Syracuse, New York
                               Dvtias iurfudeql: Consultation to chemically dependent patents
                               and rehabllitafion treabnent staff regarding mental health irsues
                               and counseling techniques.
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 23 of 49




  Norman ]. Lesswing, Ph.D'                                                                 Page 5


  r98? - r988                 I{cr.{,.Erislr}$Nt &8geE&41!qN$
                              }1ry4tffiJJry"WS&&,mSS.{if,g-
                              Syracuse, New York
                              Dnii(:s-iapl$ilgdi Shategic planning for privately owned health
                              promotion and wellndss company,

  198? - present              colv$,ur:rtT,vc gI.IMC4 & I}$       ycrfoi acJsr
                              Onondaga County Deparbnent ofSocial Services
                              Sylacuse, New York
                              Mg           *#;!ilde: Psychological evaluation of adults referred
                              through Childrenrs Protective Service; Family Court testimony.

  I 986 -      present        e.olVSlILEI[G CLIT\ACAL ngIeIJOLOsLsf
                              Alliance Program (Catholic Charities)
                              Syracuse, New York
                              Dqties l*chtilg; Psychological teoting and evaluation of sexual
                              abuse perpehators and victims, funded through a gr ant        from
                              New York State Deparbnent of Social Services.

  1986     -   1991           C oN,9 Ur,.r*TtfS l\ffi I& *PSv,CHoIiO Gr$f
                              State Universtty of New York Health science Center
                              Alzheimer Disease Assistance Center,
                              Syracuse, New York
                               Ptotles fu&]u dsd: Outpatient neuropsychological assessment         of
                              'elderly
                                       patients wlth suspected dementia.

  i984.        1999           PSYCI{OI,OGyqOMT4AJTOn
                              Benjamin Ruoh Center
                              Syracuse, New York
                              Dll,ties ittchulsd: Provision of all psychological services (group
                              therapy and psychological evaluation) for lnpatient psychiahic
                              hospital as an independent conkactofi private management of
                              psychology and support service staff and budget funcfion as
                              Director of Psychology for adminishative purposes; consultant
                              to outpaHent clinic; program planning and developmenf design
                              and implementation of clinical outcome research for Benjaldn
                              Rueh Center; supervision of six licensed psychologists;
                              supervislon of Centralized Hospital Programming.

  1980     -   1999           QTREc,{pIio4f9cs}Jg4oG1
                              Benjamln Rush Center
                              Sytacuse, New York
                              ,Qatt'el".drStt{ted. Supervision of psychology services to specialty
                              units within a 1.07-bed private psychlahic hospital; developer of
                              hospital Quality Assurance program; Chair, Institutional
                              Review Boardi Medical Staff membership (Active Psychology
                              Staff; provision of numerous inservices, media presentafions,
                              community workshops on clirrical issues.

                                           CUTE   p Sy CHOL-O Gt gT
  tg7',t   -   1980           AS   S   O
                              Hutchings Peychiatric Center, Syracuse, New York
                              Q/]ti**"igc!.ttde,rlt Supervising senior clinician for ten-member
                              interdisciplinary outpatient team; direct service provision;
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 24 of 49




  Normarr        ], Lesswing, Ph.D.                                                                         Page 6

                                      psychological assesgment program adminishation; Director of
                                      Inservice Education; member', Psychology Internship Training
                                      Committee; chairman, Continuity of Care Committee; merrrber,
                                      Mortality Review Board for psychological autopsies,

  1976   -   197',1                   JSTfl HKNJNcrrryI{drl.€oi{tl4titqlYt,9vcllgl                Gc    y
                                      ft&{"4f.]p*pwpl
                                      Hutchings Psychiatric Center, Sytacuse, New York
                                      Dse$Liltd&ed: Supervised outpatient individual, conjoint,
                                      and family psychotherapy; neuropsycholo gical assessmenq
                                      community psychology consultation, education, trai:ring, and
                                      prograur development,

  1972   - t976                       qI.r.4DU,A.tEltSSISI)lNr
                                      The Pennsylvania State Universlty Mental Health Center
                                      Q$li#pbryht&dr Supervised individual and gtoup
                                      psychotherapy,20 hours per week, for four academic years;
                                      chairman, research and evaluation committee; consultaHon to
                                      campus gloups and organizations; educational programs tl
                                      interpersonal akills,

  t969 - |g'.rr                       lr4ElJTr{L IrE l tLH WgRr(En
                                      Buffalo General Hospital
                                      Buffalo, New York
                                      F-vtiet,itckule.d; Group, milieu, recreational and occupational
                                      therapies wit{-r psychiahic inpafients,




  TEACHING EXPERIEI!.Q4I

  7995.1998                           {S}$rnuc*II}s.oNotvlr4fJe"Arl}/rycp4ryqll-(},tv
                                      rltc.grJrol,l.si#apprcrTo*'_s.Jj\rc
                                      C,prWej^l&t&B The DSM-IV in Addiction Diagnosis;
                                      Personality Disor ders in Alcoholism/Substance Abuse
                                      ?reatment.

  1980 - present                      dDt'LINqr4S$r9?)lr{?'r4grfjg.rpr               o}1   F$l,crlolo   q
                                      Syracuse Universlty
                                      tplujse t$u&!: Supervirion of clinical psychology graduate
                                      students in practicum

  1979 - present                      /ts$Ig&4A/"       il4{:c4[     rnp.f;Eg$CI8
                                      Department of Psychiahy (Psychology)
                                      State University of New York Health Science Center
                                      Cgutwg.* s,ugb!: Psychiatic inter,viewing; Seminar presentations
                                      to Forenslc PsychlaFy Fellows

  7978 -1979                                       '   IEr{q{Eqrr   il-\r' 15   yqE(}locy
                                      ^B&rNff
                                      Syracuse University
                                      Aaw'se tnusht: Theories of Personalitv
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 25 of 49




   Notman J. Lesswing, Ph.D.                                                                              Page Z


   \977 - 1979                          ir0lurit- I1S$$I,#r4l{jr rl4Qff..9,1$.n".d$p,"n9.srrda4
                                        coonprN.Arpn
                                        Graduate Progrnm in Psychology, Chapman Unlversity
                                        Cptqper\ tattgl$ Psychopatlology; Behavioral Modification;
                                        Abnormal Psychology; Seminar in Professional and Ethical
                                        Issues; CUnical Prac ticum; Researc'h Methods,

   "t977 -7978                          IM{IFp      mcrurn_En
                                        Le Moyne College
                                        f,olrglgjgrg&lf Theorjes of Learning

   7974                                 r_NsrB.HCr.pR
                                        Permsylvania'State' University
                                        gquJ:gg]&l]d.gltt;   Helping Skills lor Paraprofessionals

   1972                                 3E4CHilvq4$!!I'T.{AE
                                        The Penruylvania State University
                                        Fatrag tcugl*t Child Development



   ITBEI{{nC{{, PU9IIQI|TION$ A}'lD P&s$3M.+'rtoN$r

   2015                                 Mental HealthDefensbs in Criminal Lnu, Presentation to Oneida
                                        County Bar Association CLE program on Novembex 7, 2075

   2010                                 Frndqmentals of Criminal Practice: Deeling with Incompelency anil
                                        Psychiatric lssues, Pres€ntation to Oneida County Bar Association
                                        CLE program on March 20, 2010,

   2007                                NYS Bar Associslion CLEPrograrn "Nan lork State Diaorce Law at
                                       Age 40 - Pleading and Prouing Your Grounds Case,/' If,resented as
                                        mentalhealth expert in demonsh'ation of direct testimqny,

   2003                                 First NaHonaI Conference on Clergy l\buse. Panel participant:
                                        Victims of Clergy $exual Abuse: The Issues, Benjamin H,
                                        Cardozo 9chool of Law, New York City, April 10-1L, 2009.

   2002                                 School Safety and Discipline Issues: Protecting   Our   Schools   lnNew
                                        Yorft. Seminar presented wlth attorneys in Syracuse, New yor.k,
                                        Aprrl26,2002,

   2007                                 School Violence lssues: Protecling Out Schools in New Yorh
                                        Seminar presented wlth attorneys in Syracuse, New York,
                                        ApttlW,2AA1.,

   2001                                 A Guide   to Psychologicnl Evaluations,   Workshop presented at the
                                        Council of Family and Child Caring Agencies, in Syracuse, New
                                        York, ]utre 7, 2001,

   7997                                 Dual-dingnosis: Asaessrnent and Intententioa, Continuing
                                        educadon presentation at Tully Hill.
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 26 of 49




   Nornran f. Lesswtng, Ph.D.                                                                       Page   I

   7995 -1996                    Postfiaumatic Stress Debiefing, Presentations to SWAT School,
                                Onondaga County Sheriff's Department.




   7994                         Psychologlcal Testing Instrument* Presentation to the Medical
                                Society of the State of New York Committee for Physicians,
                                Health, Syracuse, New York, October 74,1994,

   7994                         Assessment and Treahnenllssues with Dually Diegnosed
                                                                                 Clients.
                                Continuing education program presented to NYFAC, Cenfral
                                New York, September 30,7994,

   1993                         Psychopathology in alcohol and cocaine-dependent patientst          a
                                comparlson of findings fton psychological fesfihg, la,ll{$ral      of
                                SgbsppqfuAbgre Treatnlent, Vol, 10, 53-57,

   7991                         Psychopilholagy   ix                  Depvndettt F.atients:   A CawpatLaon of
                                                       -Cfuenically
                                find/ags fiwtt Psyclwlaglcal Teatitlg, Poster session presenkd. at
                                the armual meeting of the National Association of Private
                                Psychiafric Hospitals,'Marco I6land, Florida,

   1990                         Seuerig of PsychopalhologyWithin Alcohol and Cocaine Addiction.
                                Paper presented at the 216t amual American Society of
                                Addiction Medicine Conference in Phoenix, Arizona,

   '1989                        Inpatient cocaifte abusers: an analyeis ofpsychological and
                                demographic uafta&les,    Iournal ol $ulstanceJ{brrse Treatneni,
                                Vol.6,

   1988                         A Psychological and Demographic Analysis of Inpatient Cocaine
                                ,Lhaacrs; Implicnltott far Dual-Dfegrorr:o md'Treattnent Paper
                                preeentod at annual NYFAC eonfgrence, S)rrasuoe, New Ygrk.

   1988                                                                    or Personrlity
                                Cocnine Deltendtnec and, Dual-Oitgttotisl. Mood
                                llisortler? laperpresented af National Council on Alcoholism
                                and AMSAODD meetings, Washington, D,C,

   7987                         Tlu Psychological Etplanation in Criminal Caoes, Paper presented
                                atNew York    State Defenders'Associadon, Utica, New york.


   1986                         Chair, symposium presented at American Psychological
                                Association Convention: Psychological Seruices in a Changing
                                Reimbursemenl System, Washington, D.C.


   1,982- 1983                  Plo/essforraf Practice Corwlitiottt Aritottg mentbels of lrsllcirolcgrs{s
                                AfSliated wi th tr\hate I, *yckidh,it llotpitats; fr,{o $ury€y$ presented
                                at the Arqerican Psycltolcgical As.soeiatirn Conventions. i.g82
                                and 1983.

  L980                          OnData, the MethodAlogy of Science mdthe Cognitioe Rwolution.
                                Manuscript accepted for publication in Cogiri$ye llheraBy.and
                                nesegrcb.1980.
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 27 of 49




   Norman |. Lesswing, Ph'D,                                                                                        Page 9


   1979                                             Ttward the total rehabilitatian of the alaryngeal pnllcttt: tuto sllr?eys
                                                    With Johmson,  J, T., and Casperi J, TIe Laiygsggcspgg9, 1-929.




   twB                                              Implications of Philosophy of Science, Cognition, and Rhetoric for
                                                    Psychothzrapy Theory, Research and Practice. Unpublished
                                                    doctoral dissetation, The Pennsylvania State University (430
                                                    page theoretical manuscipt).


   1978                                             Strategic Therapy atrd tla Problen of Resistance. Unpubtished
                                                    paper, Hutchings Psychialric Center.

   1974                                             Behaaior Therapy: delusion or deliverance? With Mahoney, M. and
                                                    Kazdin, A E, inFranks, C, M. andWibon, G, T, (eds.). Annual
                                                    Revjew of.$qjlaubr Therat:yr Theor)' ancl Practice,
                                                    Brunner/Mazel, Inc., New York, L974.


   1973                                             Perceptual Microgenesis: A D estipthse Inquiry, Unpublished
                                                    Master's Thesis, The Perursylvania State University,

   7970                                             Relatioi of mental abili\1 to preftrcnce of tarying wttt o! auditory
                                                    stimulatiory with Leri, J. A,, anel Ilias ha, S., PgrShg:snic
                                                    Science, Yol, 77 Q), 1969.


   1968                                             Punish.ment of Consummatory us. lnstnrmentalResponses in the
                                                    rNhite Rqt, Paper presented to the NorthwestPennsylvania
                                                    Psychological Associatron,

   1968                                             National Sclence Foundation Researcher : studied perceptual
                                                    discrimination in rats "



   PROIIS$-IQN   S   !   AFFIIIATJONS;{   l,tJD   SEiifi rlCAfi o N$:

   Member, American Association for the Advancement of Science

   Board Certified Forensic Examiner; Diplomate, American Board of Forensic Examiners

   Diplonrate in Cllnicat Forensic Psychology, American Board of Psychological Specialtles

   Member, Board of Dilectors, Benjamin Rush Center (1997-2000)

   Member, Centml New York Psychological Assoclatio

   Member, Americar.r Psychological Association (Divisions of Clinical Psychology and Psychology and tlre                Law)

   Member, Amerlcan Group Psychotherapy Association

   Member, Society for Personality Assessment
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 28 of 49




  Norman     J. Lesewing,        Ph.D.                                                               Page 10

  f IrOl ES $ION At A.FrltIA'f ION6 AN D CERTIFICATIO N $: (continued)
  Member, Disaster/Crisis Response Network

  Member, Psychology Task Force, National Association of Private Psychiat'ic Hospltals (1984-1986)

  Member, Executive Committee of the Medical9taff, Bmjamin Rush Center (1988-1992)

  Member, Board of Directots, Cenbal New York $ervices (7993'7997)

  Member, Board of Directors, Liber$r Resources, Inc, (2016)

  Diplomate, American Board of Medical Psychotherapy

  Clinical Affiliate, Commudty General Hospital (1988-1992)

  Clinical Affiliate,   St,   ]oseph's Hospital (1983'1992)

  Executive Doard, Psychologists Affiliated with Private Psychiatric Hospitals (1981-1986)

  Editorial Board, Fo8rdlfe T}erafy rnd Reseqrch, 9977:l98q

  Licensed Psychologist in New York State (#6024)
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 29 of 49




                        EXHIBIT I)
 Report Run: 1012512018 2:42:39PM                      Case 1:12-cv-01236-WMS-MJR Document
                                                 Provantage AP 17                  Underberg &201-3    Filed 10/25/18 Page 30 of 49
                                                                                               Kessler LLP                                                                                           Page 1 of 14

 By: Kimberly A. Coumou                                                          A./P Invoice Client Items

                                                                                         For invoices dated from Jan I 1900 thru Oct 252018
                                                                               Limited to invoices on bank accounts forwhich KimberlyA. Coumou has           access.


Billing Timekeeper
 Client / Matter                                                                                                                                   Cost Type /
       Pavee                                                                   lnvoice    Number Date          Due Date Tvpe              Status   Trust Account       Firm AP ltem   Type Amount     Balance

JENNIFER SHOEMAKER -- Billing
 999250 Pamela Small
   1   Pamela Small vs. NYS Department of Corrections
       FIRM Workers' Compensation Board                                        11107111   -02     12nnT1        12n12011 Client    Cost   Paid     CLIENT                                   80.20
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid 12tl 12011 Check # 83588
               Workers Comp       Records        Workers Comp Records
       FIRM NYS Div. of Human Rights                                           05t01t12 - 01       51112012      51112012 Client   Cost   Paid     CLIENT                                    28.75
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid5l1l2012 Check # 85544
               To receive copy of                       SDHR        Investigative file
       FIRM US District   Court                                                12111112     -01   1211112012   1211112012 Client   Cost   Paid     CLIENT                                   350.00
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid 12111 12012 Check # 88293
               File   Complaint    File Complaint
       ROCHPROC Rochester Process, LLC                                          1154              311312013     411212013 Client   Cost   Paid     CLIENT SERVICE                            75.00
                                                                                                                                                   OF PROCESS
               Paid 411012013 Check # 89866
               Service of   Process    Service of Process
       ROCHPROC Rochester Process, LLC                                          1151              311312013     411212013 Client   Cost   Paid     CLIENT SERVICE                            75.00
                                                                                                                                                   OF PROCESS
               Paid 4fi012013 Check # 89866
               Service of   Process    Service of Process
       ROCHPROC Rochester Process, LLC                                          1   150           311312013     411212013 Client   Cost   Paid     CLIENT SERVICE                           150.00
                                                                                                                                                   OF PROCESS
               Paid 411012013 Check # 89866
               Service of   Process    Service of Process
       PACER Pacer Service Center                                               UK0021-Q220       6/30/2013      81812013 Client   Cost   Paid     CLIENT                                     3.70
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid 8/5/201   3   Check #   91   342
               PACER On-line Records Search              PACER On-line Records Search
       FIRM Highgate Medical Group                                              11t4t13-1          111112013    111512013 Client   Cost   Paid     Client Medical                            13.50
                                                                                                                                                   Records/Related
               Paid 111512013 Check # 92534
               Medical Records for Pam       Small      Medical Records for Pam Small
 Report Run: 1012512018 2:39.22PM                Case 1:12-cv-01236-WMS-MJR Document
                                           Provantage AP 17                  Underberg &201-3    Filed 10/25/18 Page 31 of 49
                                                                                         Kessler LLP                                                                                                Page2 oI 14

 By: Kimberly A. Coumou                                                    A/P Invoice Client Items

                                                                                         For invoices dated from Jan I 1900 thru Oct 252018
                                                                              Limited to invoices on bank accounts forwhich KimberlyA. Coumou has          access.


Billing Timekeeper
 Client / Matter                                                                                                                                 Cost Type I
    Darroa                                                                    lnvoice     Number Date         Due Date Type               Status TrustAccount        Firm AP ltem   Type Amount      Balance

JENNIFER SHOEMAKER -- Billing (Cont.)
    FIRM Fiona Gallacher, PhD                                                 11t25t13-1        1111912013    1211812013 Client    Cost   Paid   Client Medical                             40.26
                                                                                                                                                 Records/Related
              Paid 1211612013 Check # 93037
              Medical Records for Pamela Small           Medical Records for Pamela Small
    FIRM HIGHGATE MEDICAL GROUP                                               9116114-1          911212014     911612014 Client    Cost   Paid   Client Medical                              6.75
                                                                                                                                                 Records/Related
              Paid9l16l2014 Check # 96366
              Medical Records for Pamela Small           Medical Records for Pamela Small
     FIRM K. W. REAGLES &ASSOCS.                                              9117114-1          911712014     911712014 Client    Cost   Paid   CLIENT                                  4,000.00
                                                                                                                                                 MISCELLANEOUS
                                                                                                                                                 CHARGES
              Paid 9117 12014 Check # 96379
              Expert's    Retainer   Expert's Retainer
     FIRM FIONA GALLACHER, PHD                                                9t22t142           911612014    1011612014 Client    Cost   Paid   Client Medical                              6.88
                                                                                                                                                  Records/Related
              Paid 101812014 Check # 96685
              Records for Pamela     Small    Records for Pamela Small
     FIRM SAELI LAW OFFICE, P.C.                                              12t2t14-1          111612014     121612014 Client    Cost   Paid    CLIENT OUTSIDE                           112.50
                                                                                                                                                  LEGAL SERVICES
              Paid 121312014 Check # 97378
              MediationServices MediationServices
     FIRM LANCASTER POLICE DEPARTMENT                                         1t29t15-1          111412015 1l29n\5        Client   Cost   Paid    CLIENT                                     0.74
                                                                                                                                                  MISCELLANEOUS
                                                                                                                                                  CHARGES
              Paid 112912015 Check # 98006
              Copies of Criminal Records and Postage          Copies of Criminal Records and Postage
     FIRM LANCASTER POLICE DEPARTMENT                                         03/04/15 -   01      3t4t2015     31412015 Client    Cost   Paid    CLIENT                                     5.49
                                                                                                                                                  MISCELLANEOUS
                                                                                                                                                  CHARGES
              Paid31412015 Check # 98431
              LANCASTER POLICE DEPARTMENT - Police Records                   LANCASTER POLICE DEPARTMENT - Police Records
     JAMREIM JENNIFER SHOEMAKER                                               3111115-1          311112015     311612015 Client    Cost   Paid    CLIENT TMVEL                              57.50
                                                                                                                                                  EXPENSE
              Paid 3i16l2015 Check # 98535
              Mileage Feb 18- Mar     13   Travelto Attica, NY 3/13
     JAMREIM JENNIFER SHOEMAKER                                               3!30t15-1           313012015     41112015 Client    Cost   Paid    CLIENT TMVEL                             445.00
                                                                                                                                                  EXPENSE
              Paid 41112015 Check # 98753
              Travel and    Lunches     Mileage and Parking 3/24, 3125,3126,3/30, and 3/31
 Report Run: 1012512018 2:39''22PM
                                                   Case 1:12-cv-01236-WMS-MJR Document
                                             ProVantage AP 17                  Underberg &201-3     Filed 10/25/18 Page 32 of 49
                                                                                           Kessler LLP                                                                                                       Page 3 of 14

 By: Kimberly A. Coumou                                                      A./P Invoice Client Items

                                                                                        For invoices dated from Jan I 1900 thru Oct 252018
                                                                              Limited to invoices on bank accounts forwhich KimberlyA. Coumou has                access.


Billing Timekeeper
 Client / Matter                                                                                                                                     Cost Type I
    Pavaa                                                                     lnvoice   Number Date                Due Date Tvpe              Status TrustAccount              Firm AP ltem   Type Amount      Balance


JENNIFER SHOEMAKER                 -   Billing (Cont.)
    ANREIM ALINA NADIR                                                        4nt15-1                4n12015        411512015 Client   Cost   Paid   CLIENT TMVEL                                    17.62
                                                                                                                                                     EXPENSE
              Paid 4/15/2015 Check # 98904
              Lunch during depositions in Buffalo 3124 and3126        Lunch during depositions in Buffalo 3124 and3126
    ANREIM ALINA NADIR                                                        4nh5-2                  41112015      411512015 Client   Cost   Paid   CLIENT TMVEL                                     8.24
                                                                                                                                                     EXPENSE
              Paid 411512015 Check # 98904
              Lunch during travel back from deposition in Buffalo      Lunch during travel back from deposition in Buffalo
     JAMREIM JENNIFER SHOEMAKER                                                4115115-1            411512015       411512015 Client   Cost   Paid   CLIENT TMVEL                                   178.00
                                                                                                                                                     EXPENSE
              Paid 4/15Q915 Check # 98949
               Tiavel.a@          Lunch with AXN     Travel to Buffalo 411 and 412
     PAPERCHASE PAPERCHASE NY, LLC                                            7332805               313112015       4R012015 Client    Cost   Paid   CLIENT SERVICE                                 155.00
                                                                                                                                                     OF PROCESS
              Paid 4127 12015 Check # 99042
              Service of     Process    Service of Process
     JAMREIM JENNIFER SHOEMAKER                                               04i30/15 -   01        413012015       51112015 Client   Cost   Paid    CLIENT TMVEL                                  160.00
                                                                                                                                                      EXPENSE
              Paid 51112015 Check # 99105
              Business Expense Reimbursements            Travel to Buffalo office for depositions (Pam Small)
     PAPERCHASE PAPER CHASE NY, LLC                                           7333132                 4t2t2015       51212015 Client   Cost   Paid    CLIENT SERVICE                                 91.15
                                                                                                                                                      OF PROCESS
              Paid 412912015 Check # 99082
              Service of     Process    Service of Process
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                     272840                 41612015       51612015 Client   Cost   Paid    Client transcript fees                        374.94
           Paid5l11l2015 Check # 99204
              TranscripiServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                     272845                 41612015       51612015 Client   Cost   Paid    Client transcript fees                        141.95
              Paid 511112015 Check # 99204
              TranscriptServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                     272886                 41812015       51812015 Glient   Cost Paid      Client transcript fees                        710.60
           Paid511112015 Check # 99204
           TranscriptServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                     272946                411012015      511012015 Client   Cost Paid      Client transcript fees                        380.80
               Paid   5111   12015 Check # 99204
              TranscriptServices TranscriptServices
     RESNICK GEOFFREY K, RESNICK, PRIVATE INVESTIGATOR                         4t17t15-1             411312015      511212015 Client   Cost   Paid    CLTENT                                        184.68
                                                                                                                                                      MISCELLANEOUS
                                                                                                                                                      CHARGES
 Report Run: 10   125 1201   8   2:39,'22PM              Case 1:12-cv-01236-WMS-MJR Document
                                                   Provantage AP 1 7                 Underberg &201-3    Filed 10/25/18 Page 33 of 49
                                                                                                Kessler LLP                                                                                                           Page 4 of 14

 By: Kimberly A. Coumou                                                            A/P Invoice Client Items

                                                                                              For invoices dated from Jan 1 1900 thru Oct 252018
                                                                                    Limited to invoices on bank accounts forwhich Kimberly A. Coumou has                access.


Billing Timekeeper
 Client / Matter                                                                                                                                            Cost Type I
     Pavee                                                                           lnvoice     Number Date             Due Date Type               Status TrustAccount              Firm AP ltem   Type Amount        Balance


JENNIFER SHOEMAKER                        -   Billing (Cont.)
              Paid511112015 Check # 99203
                                  to locate witnesses
              Private lnvestigatorServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.         273053                                                 411412015       511412015 Client    Cost   Paid   Client transcript fees                          155.00
              Paid5l11l2015 Check # 99214
              TranscriptServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES,                      INC.                      273049               411412015        511412015 Client   Cost   Paid   Client transcript fees                          391.20
              Paid511112015 Check # 99214
              TranscriptServices TranscriptServices
     ANREIM ALINA            NADIR                                                   5113115-1            412812015        511512015 Client   Cost   Paid   CLIENT    TMVEL                                   6.20
                                                                                                                                                            EXPENSE
                  Paid511412015 Check # 99266
              Coffee during depo in            Buffalo   Coffee during depo in Buffalo
     JWH JACK W. HUNT AND ASSOCIATES,                      INC.                      273087               411612015        511612015 Client   Cost   Paid    Client transcript fees                         750.00
           Paid 511 412015 Check # 99255
                  TranscriptServices TranscriptServices
     PAPERCHASE PAPERCHASE NY,                       LLC                             7333827              411812015        511812015 Client   Cost   Paid    CLIENT SERVICE                                  65.00
                                                                                                                                                             OF PROCESS
                  Paid511412015 Check # 99258
                  Service of      Process      Service of Process
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                           273161               412112015        512112015 Client   Cost   Paid    Client transcript fees                         542.00
           Paid 511412015 Check # 99255
                  Transcriptservices Transcriptservices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                           273224               412412015        512412015 Client   Cost   Paid    Client transcript fees                         614.20
           Paid5l26l2015 Check # 99342
           TranscriptServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                           273222               412412015        512412015 Client   Cost   Paid    Client transcript fees                         266.92
                  Paid5l26l2015 Check # 99342
                  TranscriptServices TranscriptServices
     REAGLES KENNETH W. REAGLES, PHD                                                 1A5114                 61512015        61512015 Client   Cost   Paid    CLIENT                                       13,600.00
                                                                                                                                                             MISCELLANEOUS
                                                                                                                                                             CHARGES
                  Paid 6/9/2015 Check#99522
                  Consultation Services (orig invoice date 1215114)         Consultation Services (orig invoice dale 1215114)
     REAGLES KENNETH W. REAGLES, PHD                                                     4121115           412112015        61512015 Client   Cost   Paid    CLIENT                                        2,262.00
                                                                                                                                                             MISCELLANEOUS
                                                                                                                                                             CHARGES
                  Paid 6/9/2015 Check#99521
                  Consultation       Services     Consultation Services (orig invoice date12!5114)
      FIRM AME REPORTING SERVICES                                                        1810              51122015        611212015 Client   Cost   Paid    Client transcript fees                          348.00
 Report Run: 1012512018 2:39:22PM
                                                     Case 1:12-cv-01236-WMS-MJR Document
                                               ProVantageAP 17                  Underberg &201-3    Filed 10/25/18 Page 34 of 49
                                                                                            Kessler LLP                                                                                                     Page 5 of 14

 By: Kimberly A, Coumou                                                        A/P Invoice Client Items

                                                                                         For invoices dated from Jan 1 1900 thru Oct 252018
                                                                               Limited to invoices on bank accounts forwhich KimberlyA. Coumou has            access-


Billing Timekeeper
 Client I Matter                                                                                                                                   Cost Type /
    Darraa                                                                     lnvoice     Number Date          Due Date TyPe               Status TrustAccount             Firm AP ltem   Type Amount       Balance


JENNIFER SHOEMAKER                    -   Billing (Cont.)
              Paid 6/9/2015 Check# 99516
          TranscriptServices TranscriptServices
    JWH JACK W. HUNT AND ASSOCIATES, INC.                                       273795            511812015      611712015 Client    Cost   Paid   Client transcript fees                         500.00
          Paid 6/9/2015 Check # 99539
          TranscriptServices TranscriptServices
     JWH JACK W. HUNT AND ASSOCIATES, INC.                                      273737            511812015      611712015 Client    Cost Paid     Client transcript fees                         649.00
           Paid 6/9/2015 Check#99539
           TranscriptServices TranscriptServices
     PACER PACERSERVICE CENTER                                                  2650198-O22C       7nn\5          8n12015 Client     Cost   Paid   CLIENT                                          12.40
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
              Paid81412015 Check # 100168
              PACER On-line Court Record Searches 411115-6130115             PACER Online Court Record Searches 4/1/15-6/30/15
     PACER PACER SERVICE CENTER                                                 2650198-Q22C       7nnT5           8n12015 Client    Cost   Paid    CLIENT                                          2.00
                                                                                                                                                    MISCELLANEOUS
                                                                                                                                                    CHARGES
               Paid 81412015 Check # 100168
               PACER Online Court Record Searches 4/1/154/30/15              PACER On-line Court Record Searches 411115-6130115
     FIRM SAELI LAW OFFICE, PC                                                  211116-1         1211512015        21112016 Client   Cost   Paid    CLIENT OUTSIDE                                213.75
                                                                                                                                                    LEGAL SERVICES
               Paid21112016 Check # 102198
               Legal   Consult       Legal Consult
     FIRM NORMAN J. LESSWING, PHD                                               213t16-1           111212016      211212016 Client   Cost   Paid    CLIENT                                      16,575.00
                                                                                                                                                    MISCELLANEOUS
                                                                                                                                                    CHARGES
               Paid 21812016 Check # 102298
               Forensic psychological evaluation         Forensic psychological evaluation
     JAMREIM JENNIFER SHOEMAKER                                                 2115116-1          211512016      211512016 Client   Cost   Paid    CLIENT TMVEL                                  160.00
                                                                                                                                                    EXPENSE
               Paid2l15l2016 Check # 102369
               Travel and        Expenses Travel to Buffalo2l3 and2l4
     FIRM OB GYN ASSOCIATES OF WNY                                              2t19t16-1           21912016      211912016 Client   Cost   Paid    Client Medical                                  24.75
                                                                                                                                                    Records/Related
               Paid   21   19   12016 Check # 102421
               Medican Records for Pam Small            Medical Records for Pam Small
     FIRM FIONA GALLACHER, PHD                                                  2t19t16-3          211712016      211912016 Client   Cost   Paid    Client Medical                                  25.00
                                                                                                                                                    Records/Related
               Paid 3/8/2016 Check# 102577
               Expert      Records     Expert Records
 Report Run: 1012512018 2:39:22PM
                                                  Case 1:12-cv-01236-WMS-MJR Document
                                           ProVantage AP 17                  Underberg &201-3     Filed 10/25/18 Page 35 of 49
                                                                                         Kessler LLP                                                                                                    Page 6 of 14

 By: Kimberly A. Coumou                                                     AIP Invoice Client Items

                                                                                      For invoices dated from Jan I 1900 thru Oct 252018
                                                                            Limited to invoices on bank accounts forwhich KimberlyA. coumou has             access.



Billing Timekeeper
 Client / Matter                                                                                                                                   Gost Type /
    Pavee                                                                    lnvoice        Number Date        Due Date TYPe              Status   Trust Account      Firm AP ltem   Type Amount          Balance


JENNIFER SHOEMAKER .. Billing (Gont.)
     FIRM NORMAN J. LESSWING, PHD                                            6/9/16 -   1          61912016     61912016 Client    Cost   Paid     CLIENT                                 1,950.00
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
              Paid 6/16/2016 Check# 103786
              Expert    consultation Expert Consultation; Norman J. Lesswing, Ph.D
     100060737 F|RST       BANKCARD                                          715117   -3          611512017    611512017 Client    Cost   Paid     CLIENT                                   46.48
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
              Paid1fi8l2017 Check # 108187
              Exhibit   Supplies    Exhibit Supplies
     100060737 FIRST BANKCARD                                                7t5t17 - 4            611912017 6l$nT7       Client   Cost   Paid     CLIENT                                    58.29
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
              Paid$l18l2017 Check # 108187
              Exhibit   Supplies    Exhibit Supplies
     ANREIM ALINA NADIR                                                      8t4t17-1              712612017     81412017 Client   Cost   Paid     CLIENT   TMVEL                            96.00
                                                                                                                                                   EXPENSE
              Paid81412017 Check # 108055
              Travel To Buffalo For Pre Trial Conference       Travel To Buffalo For Pre Trial Conference
     FIRM COLLIGAN LAW LLP                                                   822117 -       1       81912017    812212017 Client   Cost   Paid     CLIENT                                   112.50
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
              Paid8l23l2017 Check # 108208
               Legal    Counsel   Legal Counsel
     FIRM MICHAEL S. MOGERMAN, MD                                             08125117      -02    812512017    812512017 Client   Cost   Paid     CLIENT                                       40.00
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid 812512017 Check # 108246
               MICHAEL S. MOGERMAN, MD - Subpeona Fee                MICHAEL S. MOGERMAN, MD - Subpeona Fee
     FIRM FIONA P. GALLAGHER, MD                                              08124117      -01    8125n0fi     812512017 Client   Cost   Paid     CLIENT                                   110.73
                                                                                                                                                   MISCELLANEOUS
                                                                                                                                                   CHARGES
               Paid 812512017 Check # 108247
               FIONA P. GALLAGHER, MD - Mileage & Subpeona Fee              FIONA P. GALLAGHER, MD - Mileage & Subpeona Fee
      FIRM DANIELTROCK, MD                                                    08124117      -02    812512017    812512017 Client   Cost    Paid    CLIENT                                   1   18.65
                                                                                                                                                    MISCELLANEOUS
                                                                                                                                                    CHARGES
               Paid8l25l2017 Check # 108248
               DANIEL TROCK, MD - Mileage &            Subpeona DANIEL TROCK,      MD - Mileage & Subpeona
 Report Run: 1012512018 2:39'.22PM           Case 1:12-cv-01236-WMS-MJR Document
                                        ProVantage AP 17                Underberg &201-3     Filed 10/25/18 Page 36 of 49
                                                                                    Kessler LLP                                                                                              PageT ot 14

 By: Kimberly A. Coumou                                                AIP Invoice Client Items

                                                                                    For invoices dated from Jan I 1900 thru Oct 252018
                                                                          Limited to invoices on bank accounts forwhich KimberlyA. Coumou has        access.


Billing Timekeeper
 Client / Matter                                                                                                                          Cost Type I
    Pavea                                                                 lnvoice      Number Date      Due Date Type              Status TrustAccount         Firm AP ltem   Type Amount     Balance

JENNIFER SHOEMAKER .. Billing (Cont.)
    JAMREIM JENNIFER SHOEMAKER                                            8t17t17-1         811612017    91112017 Client    Cost   Paid   CLIENT TMVEL                              15.00
                                                                                                                                          EXPENSE
              Paid91112017 Check # 108298
              March-August Reimbursements Parking Expense 3/27
     JAMREIM JENNIFER SHOEMAKER                                           8117117-1         811612017    91112017 Client    Cost   Paid   CLIENT TMVEL                              85.10
                                                                                                                                          EXPENSE
              Paid9l112017 Check # 108298
              March-August Reimbursements      Travel to Buffalo for Court Conference
     JAMREIM JENNIFER SHOEMAKER                                            8117117-1        8fl612017    91112017 Client    Cost   Paid   CLIENT TMVEL                              85.'10
                                                                                                                                          EXPENSE
              Paid9l1l2017 Check # 108298
              March-August Reimbursements       Travel to Buffalo for Mediation
     JAMREIM JENNIFER SHOEMAKER                                            8t17t17-1        811612017    91112017 Client    Cost   Paid   CLIENT TMVEL                               15.00
                                                                                                                                           EXPENSE
              Paid9l1l2017 Check # 108298
              March-August Reimbursements       Park for Court Conference in Buffalo
     JAMREIM JENNIFER SHOEMAKER                                            8117117-1        811612017     91112017 Client   Cost   Paid    CLIENT TMVEL                             100.28
                                                                                                                                           EXPENSE
            Paid9l1l2017 Check # 108298
            March-August Reimbursements Travel to Syracuse to Meet With Expert
     FIRM HIGHGATE MEDICAL GROUP           PC                    09113117 -01               911312017   911312017 Client    Cost   Paid    CLIENT                                    40.00
                                                                                                                                           MISCELLANEOUS
                                                                                                                                           CHARGES
              Paid911312017 Check # 108362
              HIGHGATE MEDICAL GROUP PC - Subpoena Fee               HIGHGATE MEDICAL GROUP PC - Subpoena Fee
     PAPERCHASE PAPER CHASE NY, LLC                                        7411828          91812017     101812017 Client   Cost   Paid    CLIENT                                   178.50
                                                                                                                                           MISCELLANEOUS
                                                                                                                                           CHARGES
              Paid 101412017 Check# 108577
                  Document Services
     100060750 ALL NEW YORK PROCESS SERVERS                                32491            911512017   1011512017 Client   Cost   Paid    CLIENT                                   140.00
                                                                                                                                           MISCELLANEOUS
                                                                                                                                           CHARGES
               Paid 1011212017 Check # 108618
               Subpoena to produce   documents Subpoena to produce documents
     PAPERCHASE PAPERCHASE NY,            LLC                              7412459          912212017   1012212017 Client   Cost   Paid    CLIENT                                   255.00
                                                                                                                                           MISCELLANEOUS
                                                                                                                                           CHARGES
               Paid 1011812017 Check# 108732
 Report Run: 1012512018 2:39,'22PM
                                                 Case 1:12-cv-01236-WMS-MJR Document
                                           ProVantage AP 17                 Underberg &201-3     Filed 10/25/18 Page 37 of 49
                                                                                        Kessler LLP                                                                                                           Page 8 of 14

 By: Kimberly A. Coumou                                                    A/P Invoice Client Items

                                                                                      For invoices dated from Jan 1 1900 thru Oct 252018
                                                                            Limited to invoices on bank accounts forwhich KimberlyA' Coumou has                      access.


Billing Timekeeper
 Client / Matter                                                                                                                                           Cost Type I
    Pavee                                                                   lnvoice     Number Date                  Due Date Tvoe                  Status TrustAccount        Firm AP ltem   Type Amount       Balance

JENNIFER SHOEMAKER -- Billing (Cont.)
              Service of Process and in hand delivery    Service of process, in hand delivery, filing of all statutory affidavits
    JAMREIM JENNIFER SHOEMAKER                                              1111612017 111rcn0fi                     fl1612017 Client        Cost   Paid   CLIENT                                   160.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 121112017 Check # 109123
              Travel and Trial   Prep   Trial Prep.
    JAMREIM JENNIFER SHOEMAKER                                               1111612017 11h6nT7 fl1612017                           Clieni   Cost   Paid   CLIENT                                    97.75
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 121112017 Check # 109123
              Travel and Trial   Prep   Travel
     FIRM FRANKANNARINO                                                      12129117   -03        12129nU7 m29n\7 ClientCost                       Paid   CLIENT                                    55.19
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 1212912017 Check # 109350
              FMNK ANNARINO - Trial Subpoena & Mileage            FMNK ANNARINO - Trial Subpoena & Mileage
     FIRM MARKERHARDT                                                        12129117   -04        1212912017        1212912017 Client       Cost   Paid    CLIENT                                   63.97
                                                                                                                                                            MISCELLANEOUS
                                                                                                                                                            CHARGES
              Paid 1212912017 Check # 109351
              MARK ERHARDT - Trial Subpoena fee & Mileage           MARK ERHARDT - Trial Subpoena fee & Mileage
     FIRM RUSSELL WORTHINGTON                                                12129117   -05        1212912017        1212912017 Client       Cost   Paid    CLIENT                                   73.17
                                                                                                                                                            MISCELLANEOUS
                                                                                                                                                            CHARGES
              Paid 1212912017 Check # 109352
              RUSSELL WORTHINGTON - Trial Subpoena fee &           Mileage     RUSSELL WORTHINGTON - Trial Subpoena fee & Mileage
     PAPERCHASE PAPER CHASE NY,              LLC                             7420295                112212018         212112018 Client       Cost   Paid    CLIENT                                  215.00
                                                                                                                                                            MISCELLANEOUS
                                                                                                                                                            CHARGES
              Paid 212212018 Check # 109880
                 Service of process (3)
     FIRM Thomas Will                                                        02t21t2018             A2112018           212112018 Client      Cost   Paid    CLIENT                                   61.35
                                                                                                                                                            MISCELLANEOUS
                                                                                                                                                            CHARGES
              Paid2l2ll2018 Check # 109864
              Trial subpoena - witness Trial subpoena wittness fee.
     FIRM NORMAN J. LESSWING, PHD.                                           02127118   -01          A2712018          212712018 Client      Cost   Paid    CLIENT                                 5,050.00
                                                                                                                                                            MISCELLANEOUS
                                                                                                                                                            CHARGES
 Report Run: 1012512018 2:39:22PM
                                                   Case 1:12-cv-01236-WMS-MJR Document
                                               ProvantageAP 17                Underberg &201-3     Filed 10/25/18 Page 38 of 49
                                                                                          Kessler LLP                                                                                                       Page 9 of 14

 By: Kimberly A. Coumou                                                      A/P Invoice Client Items

                                                                                         For invoices dated from Jan I 1900 thru Oct 252018
                                                                               Limited to invoices on bank accounts forwhich KimberlyA. Coumou has                  access.



Billing Timekeeper
 Client I Matter                                                                                                                                          Cost Type I
    Pavee                                                                       lnvoice   Number Date              Due Date TYPe                   Status TrustAccount        Firm AP ltem   Type Amount      Balance


JENNIFER SHOEMAKER                 -   Billing (Cont.)
              Paid 2127 12018 Check # 109909
              NORMAN J. LESSWING, PHD. - Expert Files             NORMAN J. LESSWING, PHD. - Expert Files
    ANREIM ALINA NADIR                                                          0212812018 A2812018                    2l28nUB     Client   Cost   Paid   CLIENT                                   112.00
                                                                                                                                                          MISCELLANEOUS
                                                                                                                                                          CHARGES
              Paid3l1l2018 Check # 109957
              Travel      Travel
     FIRM Christopher Retrosi                                                   031011201802 31112018                  31112018 Client      Cost   Paid   CLIENT                                   231.39
                                                                                                                                                          MISCELLANEOUS
                                                                                                                                                          CHARGES
              Paid 31112018 Check# 109967
              Christopher Retrosi - Witness Subpoena Fee         Christopher Retrosi - Witness Subpoena Fee
     FIRM Bryan Braat                                                           03/05/2018            31512018          31512018 Client     Cost   Paid    CLIENT                                   84.73
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
               Paid 3/5/2018 Check# 109973
              Subpoena fee and mileage reinbursement - Bryan Braat             Subpoena fee and mileage reinbursement
     FIRM MichaelJ. Wolkoff, PHD                                                03/05/2018   03       31512018          31512018 Client     Cost   Paid    CLIENT                                  122,50
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
               Paid 3/5/2018 Check# 109977
               Michael J. Wolkoff, PHD     -   Subpoena fee and mileage reimbursement        Michael J. Wolkoff, PHD   -   Subpoena fee and mileage reimbursement
     PAPERCHASE PAPERCHASE NY,                  LLC                             7422206              211212018         311412018 Client     Cost   Paid    CLIENT                                   85.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
               Paid 3ft 12018 Check # 1 10010
               Service of   Process     Service of process
     JAMREIM JENNIFER SHOEMAKER                                                 0312612018           312812018         312812018 Client     Cost   Paid    CLIENT                                  640.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
               Paid 312912018 Check # 1 10232
               Travel Expenses, Meetings and       CLE    Travel and meetings
     JAMREIM JENNIFER          SHOEMAKER                                        0312612018           312812018         312812018 Client     Cost   Paid    CLIENT                                   84.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
               Paid 3/29/2018 Check# 110232
               Travel Expenses, Meetings and        CLE   Parking in Buffalo
 Report Run: 1012512018 2:39:22PM                    Case 1:12-cv-01236-WMS-MJR Document
                                              ProVantage AP 17                   Underberg &201-3    Filed 10/25/18 Page 39 of 49
                                                                                             Kessler LLP                                                                                                            Page 10 of 14

 By: Kimberly A. Coumou                                                        A./P Invoice Client Items


                                                                                          For invoices dated from Jan I 1900 thru Oct 252018
                                                                                Limited to invoices on bank accounts forwhich Kimberly A. Coumou has access.

Billing Timekeeper
 Client / Matter                                                                                                                                           Cost Type I
    Dlrraa                                                                      lnvoice   Number Date               Due Date Type              Status TrustAccount               Firm AP ltem   Type Amount            Balance

JENNIFER SHOEMAKER              -    Billing (Cont.)
    PAPERCHASE PAPERCHASE NY, LLC                                               7424449             311312018        411212018 Client   Cost   Paid        CLIENT                                         105.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 411112018 Check # 110345
                 Service of process
     PAPERCHASE PAPER CHASE NY, LLC                                             7424403             311412018        411312018 Client   Cost   Paid        CLIENT                                          75.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 411112018 Check # 1 10345
                 Service of process
     PAPERCHASE PAPER CHASE NY, LLC                                             7423743              311612018       411512018 Client   Cost   Paid        CLIENT                                         180.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 411112018 Check # 110345
              Service of   process    Service of process.
     PAPERCHASE PAPERCHASE NY, LLC                                              7424410              311612018       411512018 Client   Cost   Paid        CLIENT                                          75.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 411112018 Check # 110345
              Service of   process    Service of Process
     PDQ P.D.Q. DELIVERY SERVICE                                                 J70474              313112018       413012018 Client   Cost   Paid        CLIENT                                          31,01
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 4!2612018 Check # 1 10498
                 Delivery Service
     PDQ P.D.Q. DELIVERY SERVICE                                                 J70474              313112018       413012018 Client   Cost   Paid        CLIENT                                           13.30
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 412612018 Check # 110498
                 Delivery Service
     FIRM KENNETH W. REAGLES, PH.D.                                             09/06/18 -   02       91612018        91612018 Client   Cost   Paid        CLIENT                                        8,960.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 9/6/2018 Check#       11   1624
              KENNETH W. REAGLES, PH.D.              -   lnvoice Re: Ms. Pamela S. Small v. NYS DOCS, et al.     KENNETH W. REAGLES, Ph.D.     - lnvoice   Re: Ms. Pamela S. Small v. NYS DOCS, et al.
     ANREIM ALINA     NADIR                                                      091418              911412018       911712018 Client   Cost   Paid        CLIENT                                           96.00
                                                                                                                                                           MISCELLANEOUS
                                                                                                                                                           CHARGES
              Paid 10/1/2018 Check # 111877
 Report Run: 1012512018 2:39:22PM                Case 1:12-cv-01236-WMS-MJR Document
                                            ProVantage AP 17                Underberg &201-3    Filed 10/25/18 Page 40 of 49
                                                                                        Kessler LLP                                                                                                          Page11of14

 By: Kimberly A. Coumou                                                    A/P Invoice Client Items

                                                                                          For invoices dated from Jan I 1900 thru Oct 252018
                                                                                Limited to invoices on bank accounts forwhich Kimberly A. Coumou has                access-


Billing Timekeeper
 Client / Matter                                                                                                                                          Gost Type I
    Pavee                                                                       lnvoice    Number Date                Due Date Type              Status TrustAccount          Firm AP ltem   Type Amount       Balance


JENNIFER SHOEMAKER -- Billinq (Cont.)
       Tria]-      iri suffaro
     100060737                                                                  09/19 -   99925C 911912018            912712018 Client    Cost Unpaid     CLIENT                                   400.00         400.00
                                                                                                                                                          MISCELLANEOUS
                                                                                                                                                          CHARGES
              Filing   Fee   Filing Fee
    ANREIM ALINA NADIR                                                          09121118    -01           912812018    912812018 Client   Cost   Paid     TRAVEL 100%                              150.96
              Paid 101112018 Check # 111877
              09/16 - Travel to/from Buffalo, Trial    09/16 - Travelto/from Buffalo, Trial
     100060737 FIRST BANKCARD                                                   P Small                 fingnY\       1011912018 Client Cost     Paid     CLIENT TMVEL                             539.58
                                                                                                                                                          EXPENSE
              Paid 10/19/2018 Check# 112057
              Hotel Stay for A   Nadir    Hilton Garden lnn travel expense - A. Nadir
     100060737 FIRST      BANKCARD                                              P Small                 1011912018    1011912018 Client Cost     Paid     CLIENT TMVEL                             573.72
                                                                                                                                                          EXPENSE
              Paid 10/19/2018 Check# 112057
              Travel expenses 9/10-9/13 J. Shoemaker            Hilton Garden lnn for J. Shoemaker 9/10-9/13
     100060737 FIRST BANKCARD                                                    P    Small             1011912018    1011912018 Client Cost     Paid     CLIENT TMVEL                             477.33
                                                                                                                                                          EXPENSE
              Paid 10/19/2018 Check# 112057
              Travel Expense - J. Hance 9/10-9/13           Hilton Garden lnn - J. Hance for 9/10-9/13
     JAMREIM JENNIFER SHOEMAKER                                                  08/20/18                 8t20t2018   1012312018 Client   Cost   Paid     TMVEL 100%                              1,655.73
               Paid 1012312018 Check # 1 12102
               Pamela Small
     100060737                                                                   P.   Small             1012512018    1012512018 Client   Cost   Unpaid   CLIENT TMVEL                             933.91         933.91
                                                                                                                                                          EXPENSE
              A. Nadir travel and meals 9116-9121      A. Nadir travel & meals       9116118 -9,21118

     100060737                                                                   P.   Small             1012512018    1012512018 Client   Cost   Unpaid   CLIENT TMVEL                             807.29         807.29
                                                                                                                                                          EXPENSE
              J. Hance travel & meals     9116118-9121118      J. Hance travel & meals    9116118-9121118

     100060737                                                                   P.   Small             1012512018    1012512018 Client   Cost   Unpaid   CLIENT TMVEL                            1,008.90 1,008.90
                                                                                                                                                          EXPENSE
              J. Shoemaker travel & meals      9116118-9121118      J. Shoemaker travel & meals 9116118-9121118
     100060737                                                                   P.   Small             1012512018    1012512018 Client   Cost   Unpaid   CLIENT   TMVEL                           790.55         790.55
                                                                                                                                                          EXPENSE
               A. Nadir travel & meals 9123118-9128118        A. Nadir travel & meals   9123118-9128118

     100060737                                                                   P.   Small             1012512018    1012512018 Client Cost     Unpaid   CLIENT TMVEL                            1,019.38 1,019.38
                                                                                                                                                          EXPENSE
               J. Shoemaker travel & meds 9123118-9128118           J. Shoemaker travel & meals 9123118-9128118
 Report Run: 1 0   125   12018 2:39.'22PM
                                                     Case 1:12-cv-01236-WMS-MJR Document
                                               ProVantage AP 17                 Underberg &201-3     Filed 10/25/18 Page 41 of 49
                                                                                            Kessler LLP                                                                                                  Page 12 ol 14

 By: Kimberly A. Coumou                                                        A/P Invoice Client Items

                                                                                        For invoices dated from Jan I 1900 thru Oct 252018
                                                                              Limited to invoices on bank accounts forwhich KimberlyA. Coumou has                access.


Billing Timekeeper
 Client / Matter                                                                                                                                      Cost Type /
     Pavee                                                                    lnvoice     Number Date             Due Date Tvpe              Status TrustAccount           Firm AP ltem   Type Amount       Balance

JENNIFER SHOEMAKER .. Billing (Cont.)
     100060737                                                                P Small                1012512018   1012512018 Client   Cost   Unpaid   CLIENT    TMVEL                          790.55          790.55
                                                                                                                                                      EXPENSE
                J. Hance travel & meals     9123118-9128118   J. Hance travel & meals   9123118-9128118

     PDQ                                                                      J74806                  9/30/2018   10/30/2018   ClientCost Unpaid      Federal Express                           133.65         133.65
                                                                                                                                                      Charges
                PDQ Delivery        Charges   PDQ Delivery Charges
   Totals for   1    Pamela Small vs. NYS Department of Conections                                                                                                                            74,416.21     5,884.23

Totals for JENNIFER SHOEMAKER                  -   Billing                                                                                                                                   $74,416.21    $5,884.23
 Report Run: 1012512018 2:39:22PM
                                         Case 1:12-cv-01236-WMS-MJR Document
                                    ProVantage AP 17                Underberg &201-3     Filed 10/25/18 Page 42 of 49
                                                                                Kessler LLP                                                                            Page 13 of 14

 By: Kimberly A. Coumou                                            A/P Invoice Client Items

                                                                   For invoices dated from Jan 1 1900 thru Oct 252018
                                                        Limited to invoices on bank accounts forwhich KimberlyA. Coumou has   access.


Billing Timekeeper
 Client / Mafter                                                                                                   Cost Type I
    Pavee                                               lnvoice   Number Date        Due Date TyPe        Status TrustAccount           Firm AP ltem   Type Amount        Balance


                                    Report Totals                                                                                                         $74,416.21   $5,884.23
 Report Run : 10 125120 1 8 2:39:22PM        Case 1:12-cv-01236-WMS-MJR Document
                                        ProVantage AP 17                 Underberg &201-3     Filed 10/25/18 Page 43 of 49
                                                                                     Kessler LLP                                                                                         Page 14 of 14

 By: Kimberly A. Coumou                                                A,/P Invoice Client Items


                                                                             For invoices dated from Jan I 1900 thru Oct 252018
                                                                  Limited to invoices on bank accounts forwhich KimberlyA. Coumou has      access.


Billing Timekeeper
 Client / Matter                                                                                                                   Cost Type I
     Pavee                                                         lnvoice   Number Date        Due Date Tvpe           Status     Trust Account     Firm AP ltem   Type Amount             Balance

                                                                                                                                                                        Version: 10.4.16.415 Build: 415
 ITREPORTS\CRYSTAL\PAYABLES AND VENDORS\AP lnvoice Client ltems.rpt




    Selection Criteria for Session #2917322

        Report File                                        IIREPORTS\CRYSTAL\PAYABLES    AND VENDORS\AP lnvoice Client ltems.rpt
        Secondary Title
        From Date                                          No Date
        Thru Date                                          Oct 25 2018
        Apply Date Range to Which Date                     lnvoice date
        Cost ltems orTrust ltems                           Both
        lnclude ltems on lnvoices that are not Complete    No
        Cost ltems Billed to Client or Unbilled            Both
        Cost ltems Paid by Glient or Unpaid                Both
        Items Paid to Vendor or Unpaid                     Both
        Show Check Data on Paid ltems                      Yes
         Show Reference Text                               Yes
         Exclude Write Offs                                No
         Exclude Nonbillable ltems                         No
         Mafter List
         Client List                                       999250/Pamela Small
         Timekeeper List
         Office List
         Department List
         Section List
         Practice Group List
         User Type List
         Area Of Law List
         Cost Code List
         Register List
         Group By                                          Billing; Total By = Billing
         Sort Clients By                                   Sort Name
         New Page for Each Glient                          No
         Sort Mafters By                                   Matter Title
         NewPageforEach Matter                             No
         Sort Timekeepers By                               Sort Name
         Sort Code Groups By                               Description
         Show Group Total Rows Only                        No
Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 44 of 49




                        EXF{IBIT E
                     Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 45 of 49
Report Run: 1012512018 7:58:49AM
By: L0Rl E. GORDON
                                                                           Underberg & I(essler LLP                                                                 Page 1 of 5

                                                                                 Costs Listing                                                               ProVantage WIP 11




                                                              Costs dated from Jan               I 1900 thru Oct 252018
Billing Timekeeper

Auth,   By      Entry ld                  Entry   Date    Tran, Date Cost   Type                     Quantity           Rate     Amount Status              Balance   Tran, #



JENNIFER SHOEMAKER           .. Billing
JAS            RAIM                        511412013         51612013 On-line Computer                   100        271.00        271.00         Unbilled             2437153
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                      0n-line Computer Research
JAS            RA[/                        511412013         51812013 On-line Computer                   't   00    1   18.65     1   18.65      Unbilled             2437155
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                   On-line Computer Research
JM1            RAM                         512512013       511312013 OnJine Computer                     1.00           37.28         37.28      Unbilled             2441211
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 /        I   )
                      On-line Computer Research
JMl            RA[/                        512912013       511612013 OnJine Computer                     1.00       157.51        157,51         Unbilled             2441212
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 / 1 )
                      0n-line Computer Research
AXN            RA[/                        912912014       912512014   Online Computer                   1,00           98.01         98.01      Unbilled             2593597
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                      OnJine Computer Research     - AN

AXN            RA[/                       1011512014        101312014 OnJine Computer                    1    00    140.76        140.76         Unbilled             2600585
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 / 1 )
                   OnJine Computer Research - AN
AXN            RAIM                       1011512014       101812014 On-line Computer                    '1.00      104.04        104.04         Unbilled             2600591
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 /         I   )
                      OnJine Computer Research     - AN

AXN            RAM                        1111012014      1013112014 On-line Computer                    1.00           85.59         85    59   Unbilled             2608637
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                   On-line Computer Research - AN
AXN            RAM                        1111012014       111412014 On-line Computer                    1    00        86 'lB        86.18      Unbilled             2608639
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                      OnJine Computer Research - AN
AXN            RAM                          31212015       212012015 On-line Computer                    1.00           52.22         52.22      Unbilled             2644671
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                   OnJine Compuler Research - AN
AXN            RAM                          31212015       212312015 On-line Computer                    1.00           26.11         26j1       Unbilled             2644672
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                   On-line Computer Research - AN
AXN            RAM                          31212015       212412015 On-line Computer                    1.00           20 BB     20        88   Unbilled             2644673
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 / 1 )
                   On-line Computer Research - AN
AXN            RAM                          41112015       312112015 On-line Computer                    I    00        11.30         11.30      Unbilled             2654465
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1 )
                      On-line Computer Research - AN
AXN            RAM                          41112015       312212015   Oniine Computer                   1    .00       16 96         '16   96   Unbilled             26s4467
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                   On-line Computer Research - AN
AXN            RAM                          41112015       312612015 On-line Computer                    1.00       176.78        176.78         Unbilled             2654469
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                   On-line Computer Research - AN
AXN            RA[/                         41112015       312712015 On-line Computer                    1    00    BB39          88.39          Unbilled             2654470
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1           )
                      On-line Computer Research - AN
AXN            RAM                          41812015       3/30/2015 OnJine Computer                     1.00            5.71          5.71      Unbilled             2655790
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                      OnJine Computer Research - AN
AXN            RAM                          41812015       313012015 On-line Computer                    'l   00    59.57         59.57          Unbilled             2655793
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                   On-line Computer Research - AN
                     Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 46 of 49
Report Run: 1012512018 7:58:50AM
By: LOR| E. GORDON
                                                                         Underberg & I(essler LLP                                                               Page 2 of 5

                                                                               Costs Listing                                                             ProVantage WIP 11




                                                            Costs dated from Jan               f 1900 thru Oct 252018
Billing Timekeeper

Auth.   By      Entry ld              Entry   Date      Tran, Date Gost Type                       Quantity Rate Amount Status                          Balance    Tran. #


JENNIFER SHOEMAKER           - Billing (Cont.)
AXN            LHOLT                    512912015        512212015 On-line Computer                    1.00        260.58         260.58     Unbilled             2672677
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1 )
                      Online Computer Research - AXN
AXN            LHOLT                    512912015        512212015   Online Computer                   1.00        702.67         702.67     Unbilled             2672680
         Pamela Small / Pamela Small vs, NYS Department of Conections (999250 /        I   )
                      Online Computer Research - AXN
AXN            RAIV                     611612015         61112015 On-line Computer                    1.00        194.07         194.07     Unbilled             2678630
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 /       I   )
                      Onllne Computer Research   - AN

AXN            RAN/                     611612015         61112015 On-line Computer                    1.00        602.39         602.39     Unbilled             2678631
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 / 1 )
                      OnJine Computer Research - AN
AXN            RAM                      611612015         61112015 On-line Computer                    'l   00      35 28          35.28     Unbilled             2678632
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 /       I   )
                      On-line Computer Research - AN
AXN            RAM                      611612015        611012015 OnJine Computer                     1.00         68.51          68   51   Unbilled             2678689
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250    /    1)
                      0n-line Computer Research - AN
AXN            RAM                      611612015        611112015 On-line Computer                    1.00         47.33          47.33     Unbilled             2678690
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250    /    1)
                      On-line Computer Research - AN
AXN            RAM                      611612015        611112015 On-line Computer                    1    00      34.2s          34.25     Unbilled             2678691
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1 )
                      On-line Computer Research - AN
AXN            RAM                      711512015         71612015 On-line Computer                    '1.00        1 1   .05      11.05     Unbilled             2689764
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
                   OnJine Computer Research - AN
AXN            RAM                      711512015         71712015 OnJine Computer                     1.00         22.10          22.10     Unbilled             2689766
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 / 1 )
                   On-line Computer Research - AN
AXN            RAM                      711512015         71812015 On-line Computer                    1    00      22.10          22.10     Unbilled             2689767
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
                      On-line Computer Research - AN
AXN            RAM                      101512015        9/30/2015 On-line Computer                    '1.00 45.56                 45.56     Unbilled             271 5999

         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250    /   1)
                      On-line Computer Research - AN
AXN            KXW                      513112016        512512016 On-line Computer                    1.00        481.14         481.14     Unbilled             2795130
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
JM1            KXW                     513112016 512612016 On-line Computer                            1.00         53,46          53.46     Unbilled             279s140
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1 )
JMA            KXW                      612712016       61612016 On-line Computer                      100          53.46          53.46     Unbilled             2803 1 40
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1 )
JKF            KXW                      612712016       61712016 On-line Computer                      1,00       267.30         267,30      Unbilled             2803149
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
AXN            KXW                      612712016         61812016 On-line Computer                    1.00         53 46          53.46     Unbilled             28031 56
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
JMA            KXW                      612712016         6/9/2016 On-line Computer                    1.00         53.46          53.46     Unbilled             2803179
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250    /   1)
AXN            NXK                      611212017         61612017 On-line Computer                    100       3,175.20       3,175.20     Unbilled             2910795
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
AXN            NXK                      611512017      611212017 On-line Computer                      1.00       160 38         '160.38     Unbilled             291   1   653
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 /      I    )
AXN            NXK                      611512017        611312017 On-line Computer                    1.00       946.08         946.08      Unbilled             291   1   656
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 /      I    )
                     Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 47 of 49
Report Run: 1012512018 7:58:50AM
By: LOR| E, GORDON
                                                                        Undcrberg & Kessler LLP                                                         Paoe 3 of 5

                                                                              Costs Listing                                                      Provantage WIP     11




                                                           Costs dated from Jan 1 1900 thru Oct 252018

Billing Timekeeper

Auth,   By      Entry ld             Entry   Date     Tran, Date Cost    Type                 Quantity Rate Amount Status                       Balance   Tran. #



JENNIFER SH0EMAKER           - Billing (Cont,)
AXN            NXK                     611512017        611412017   Online Computer             1.00     320.76        320.76        Unbilled             291   1   658
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250     /   1)
TXB            NXK                     611512017        611412017 OnJine Computer               1.00      134.46       134.46        Unbilled             291   1   659
         Pamela Small / Pamela Small vs, NYS Department of Corrections (999250    /   1)
AXN            NXK                     612612017        611912017 OnJine Computer               1.00     641.52        641.52        Unbilled             2914256
         Pamela Small / Pamela Small vs, NYS Department of Conections (999250     /   1)
AXN            NXK                     612612017        612212017 OnJine Computer               1.00     374.22        374.22        Unbilled             2914365
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
AXN            NXK                     613012017 612612017 On-line Computer                     1.00     978.48        978.48        Unbilled             291 6035

         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
AXN            NXK                     613012017       612712017 OnJine Computer                1.00    1,389.96     1,389.96        Unbilled             291 6063

         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 /      I   )
AXN            NXK                     613012017        612812017 OnJine Computer               100     1,834.38     1,834.38        Unbilled             291 6090

         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
JMA            NXK                     613012017       612812017 OnJine Computer                1.00     548.1 0       548.1 0       Unbilled             2916092
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
JMA            NXK                     711412017        71612017 OnJine Computer                1.00     '106.92       '106.92       Unbilled             2920524
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
AXN            NXK                     711412017         71912017 OnJine Computer               1.00          0.00            0.00   Unbilled             2920588
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250    /   1)
AXN            NXK                     711412017        711112017   Online Computer             1,00     251.10        251.10        Unbilled             2920592
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
AXN            NXK                     711412017        711212017 OnJine Computer               1,00    1,053.00     1,053 00        Unbilled             2920603
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 /     I   )
JMA            NXK                     711412017        711212017 On-line Computer              1.00    1,641 06     '1,641 .06      Unbilled             2920605
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 / 1 )
AXN            NXK                     712712017       711412017 OnJine Computer                1.00         53,46        53.46      Unbilled             2923613
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 /      I   )
AXN            NXK                     712712017        711712017 On-line Computer              1.00     106 92        106.92        Unbilled             2923618
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 /      I   )
AXN            NXK                     811112017        811012017 On-line Computer              1,00     197.64        197.64        Unbilled             2928205
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 / 1 )
AXN            NXK                     811712017        811112017 OnJine Computer               100          53.46        53 46      Unbilled             2929874
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250   /   1)
AXN            KXW                     813112017        812912017 On-line Computer              1.00     588.06       588.06         Unbilled             2934050
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
AXN            JDL                     912612017        91112017 Online Computer                1.00         cJ,4b        53.46      Unbilled             2540543
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
TXB            JDL                     912612017        91512017 Online Computer                1.00     1   20.96     '120.96       Unbilled             2940549
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
AXN            JDL                     111612018 111012018 OnJine Computer                      1.00     518.50       5   1   8.50   Unbilled             2973509
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
AXN            JDL                     111612018        111112018 On-line Computer              100      102 00       '102.00        Unbilled             2973515
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 / 1 )
AXN            JDL                     212212018       212112018 On-line Computer               1.00     280.50       280 50         Unbilled             2984454
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
JSS            JDL                     212812018        212612018 On-line Computer              1.00     209.00       209.00         Unbilled             2986350
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250 /     I   )
AXN            JDL                     212812018        212612018   Online Computer             1.00     187.00       187.00         Unbilled             2986351
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 / 1 )
AXN            JDL                     212812018 212712018 On-line Computer                     100      221.00       221.00         Unbilled             2986355
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1       )
AXN            JDL                      31112018        212812018 On-line Computer              100          59.50        s9.50      Unbilled             2987498
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
JSS            JDL                      31612018         31512018 On-line Computer              '1.00    145.26       145.26         Unbilled             2988345
         Pamela Small / Pamela Small vs. NYS Department of Conections ( 999250 / 1 )
                     Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 48 of 49
Report Run: 1012512018 7:58:50AM
By: LOR| E. GORDON
                                                                       Underberg & Kcsslcr LLP                                                           Page 4 of 5

                                                                              Costs Listing                                                       Provantage WIP   11




                                                            Costs dated from Jan 1 1900 thru Oct 252018

Billing Timekeeper

Auth.   By      Entry ld                 Entry   Date   Tran. Date Cost Type                  Quantity Rate Amount Status                        Balance   Tran, #



JENNIFER SHOEMAKER            - Billing (Cont.)
AXN            LEG                        812812018       81112018 On-line Computer              1    .00   1s6.06         156.06     Unbilled             3036539
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 / 1        )

                      online research
AXN            LEG                        Bl2Bl2018       81712018 On-line Computer              1    00 1,441,26 1,441.26            Unbilled             3036541
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1         )

                      on-line research
AXN            LEG                        8/30/2018      812712018 On-line Computer              '1.00      128.52         128.52     Unbilled             3037503
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1 )
                      online research
AXN            LEG                        8/30/2018      812812018 On-line Computer              1.00        64,26          64.26     Unbilled             3037500
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1 )
                      online research
TFK            DCP                        911712018       91612018 OnJine Computer               1.00       376.38         376.38     Unbilled             3042125
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 /      I   )
                      online computer research
JXG            LEG                        912612018       91612018 On-line Computer              '1.00      376.38         376.38     Unbilled             3044833
         Pamela Small / Pamela Small vs. NYS Department of Corrections (999250 / 1 )
                   onJine computer research
JKF            LEG                        912612018      911112018 On-line Computer              'l   00    431.46         431.46     Unbilled             3044840
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
                      on-line computer research
AXN            LEG                        912612018      912012018 OnJine Computer               1.00       385.56         385   56   Unbilled             3044842
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)
                      on-line computer research
JKF            LEG                        912612018      912012018 On-line Computer              1.00       128.52         128.52     Unbilled             3044858
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1 )
                      on-line computer research
AXN            tEG                        912612018      912312018 On-line Computer              1.00       128.52         128.52     Unbilled             3044844
         Pamela Small / Pamela Small vs, NYS Department of Conections ( 999250 /      I   )

                      on-line computer research
JM1            LEG                        912612018      912312018 On-line Computer              1    00    257.04         257.04     Unbilled             3044861
         Pamela Small / Pamela Small vs, NYS Department of Corrections ( 999250 / 1 )
                      on-line computer research
AXN            LEG                        912612018      912412018 OnJine Computer               1.00       238.68         238.68     Unbilled             3044846
         Pamela Small / Pamela Small vs. NYS Department of Conections (999250 / 1 )
                      on-line computer research
AXN            KIP                       1012212018     1011512Q18 On-line Computer              1.00        39.50         39.50      Unbilled             3053271
         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)

                      0nline research
AXN            KIP                       1012212018     1011612018 OnJine Computer               1    00    862.92         862.92     Unbilled             30531 19

         Pamela Small / Pamela Small vs. NYS Department of Corrections ( 999250   /   1)

                      Online research


             Kaitlyn Pierce                                Report Total                        81.00                 $26,032,51
                        Case 1:12-cv-01236-WMS-MJR Document 201-3 Filed 10/25/18 Page 49 of 49
Report Run: 1012512018 7:58:50AM
By: LORI E. GoRDoN
                                                                           Undcrbcrg & Kcsslcr LLP                                                                 Page 5 of 5

                                                                                Costs Listing                                                             ProVantage WIP    1'1




                                                             Costs dated from Jan        I 1900 thru Oct 252018
Billing Timekeeper

Auth.   By       Entry ld             Entry   Date       Tran. Date GostType                   Quantity Rate Amount Status                             Balance        Tran, #


l:\REPORTS\GRYSTAL\Wl P\Costs Listin          g,   rpt                                                                                         Version: 10.4.'16.415 Build: 415




   Selection Criteria for Session #2917039

        Repod File                                               I   :\REPORTS\CRYSTAL\Wl P\Costs Listing. rpt
        Secondary Title
        From Transaction Date                                    No Date
        Thru Transaction Date                                    Oct 25 201 8
        From Entry Date                                          No Date
        Thru Entry Date                                          No Date
        From Bill Date                                           No Date
        Thru Bill Date                                           No Date
        Cash or Noncash                                          Noncash
        lnclude Unbilled                                         Yes
        lnclude Billed and Unpaid                                Yes
        lnclude Paid /Written Off                                Yes
        Billable or Nonbillable                                  Both
        lnclude WDZ                                              Yes
        From Payables or Not From Payables                       Both
        Value Billing Transactions or Normal Transactions        Normal
        Show Cost Detail                                         Yes
        Show Description Text                                    Yes
        Show Which Code Column                                   Cost type code
        Client List
        Matter List                                              999250/1 Pamela Small / Pamela Small vs, NYS Department of Conections
        Authorizing Timekeeper List
        Mafter Timekeeper List
        Office List
        Department List
        Section List
        Practice Group List
        Area Of Law List
        Cost Code List                                           cOMpuTER RESEARCH (ROC)(RACO|VpR)l COMpUTER RESEARCH                FlRt\4 (FCOMpR)ICOMpUTER
                                                                 RESEARCH-CONVERTED          (CPR)l On-line Computer Research (AC0MPR)NCl Online Research (E106)


        Task Code List
        Entry User List
        Fee Basis     List
        Matter Status Code List
        Work Location List
        Group By                                                 Billing
        Effective Date For Grouping Values                       Transaction
        Show Which ld                                            Entry id
        Show Full Name                                           No
        Sort Clients By                                          Sort Name
        Sort Mafters By                                          Matter Title
        Sort Timekeepers By                                      Sort Name
        Sort Users By                                            Sort name
        Sort Code Groups By                                      Description
        Sort Costs By                                            Transaction date
